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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


THE CARNEGIE HALL CORPORATION,                       Case No.: 25-cv-4224

                     Plaintiff,                                ECF Case

       v.                                            COMPLAINT

CARNEGIE HOSPITALITY LLC, CARNEGIE
DINER 57 LLC D/B/A CARNEGIE DINER &                  JURY TRIAL DEMANDED
CAFE, CARNEGIE DINER 828 LLC D/B/A
CARNEGIE DINER & CAFE, CARNEGIE
DINER SECAUCUS, LLC, CARNEGIE DINER
VIENNA LLC D/B/A CARNEGIE DINER, and
EFSTATHIOS ANTONAKOPOULOS

                     Defendants.


                                        COMPLAINT

       Plaintiff The Carnegie Hall Corporation (“Carnegie Hall”), by and through its attorneys,

Kirkland & Ellis LLP, hereby alleges against Defendants Carnegie Hospitality LLC (“Carnegie

Hospitality”); Carnegie Diner 57 LLC d/b/a Carnegie Diner & Cafe (“Carnegie Diner 57”),

Carnegie Diner 828 LLC d/b/a Carnegie Diner & Cafe (“Carnegie Diner 828”), Carnegie Diner

Secaucus, LLC (“Carnegie Diner Secaucus”), Carnegie Diner Vienna LLC d/b/a Carnegie Diner
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(“Carnegie Diner Vienna”) (collectively, the “Individual-Restaurant LLC Defendants”); and

Efstathios (“Stathis”) Antonakopoulos (all, collectively, “Defendants”) as follows:

                                  NATURE OF THE ACTION

       1.      Carnegie Hall is an iconic American brand, which, along with its predecessors,

affiliates and licensees (collectively with Carnegie Hall, the “Carnegie Hall Entities”), has used its

CARNEGIE HALL trademarks (the “CARNEGIE HALL Marks”) for 130 years. Carnegie Hall’s

CARNEGIE HALL Marks and brand have become synonymous with excellence. The historic

Carnegie Hall concert venue is, and long has been, the home of iconic performances of all genres,

from Yo-Yo Ma to the Beatles, Miles Davis to Judy Garland, and Mark Twain to Lenny Bruce.

The Carnegie Hall Entities offer a multitude of goods and services that complement their mission

of bringing the transformative power of music to the widest possible audience—from food and

beverage offerings, to numerous categories of branded merchandise, to video-on-demand services,

podcasts, touring orchestras and education programs under the CARNEGIE HALL Marks. Such

goods and services are offered to consumers throughout the United States, as well as

internationally.

       2.      Taking advantage of the fact that Carnegie Hall is such a beloved brand and cultural

institution, Defendants willfully decided to open an expanding chain of restaurants called the

“Carnegie Diner and Café” (the “Carnegie Diners”), which are themed around and focused on

Carnegie Hall’s brand, using CARNEGIE-formative trademarks, trade dress, and marketing

materials (collectively, the “Infringing Marks”). The Carnegie Diners trade off of Carnegie Hall’s

strong brand, reputation and goodwill, and are likely to confuse consumers and dilute Carnegie

Hall’s valuable trademarks. In fact, Defendant Mr. Antonakopoulos has admitted in the press that

Defendants’ Carnegie Diners are designed “to pay homage to Carnegie Hall” and are “all about




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the music of Carnegie Hall.” But Defendants have not created a mere “homage”; they have stolen

and are trading off of Carnegie Hall’s valuable trademarks and brand.

       3.      Not only is CARNEGIE the most prominent aspect of the name and logo of the

Carnegie Diners, but Defendants have taken every opportunity to use imagery and branding

associated with Carnegie Hall to capitalize on this connection and give the false impression that

Carnegie Hall is affiliated with Defendants and their Carnegie Diners. For example, the restaurants

feature wall-size murals of Carnegie Hall’s famous building and stage, which Defendants have

designed to make consumers feel like they are eating inside Carnegie Hall’s landmarked concert

hall. Consumers are encouraged to take and post on social media photographs of themselves in

front of these murals, making it appear that they are onstage at Carnegie Hall itself. As one

example, below is a side-by-side comparison of (1) Carnegie Hall’s Stern Auditorium / Perelman

Stage (on the left); and (2) an image posted by Defendant Mr. Antonakopoulos on his Instagram

account (on the right), which was taken at a Carnegie Diner restaurant and includes Mr.

Antonakopoulos (who is second from the left), posing in front of a prominent photograph depicting

the identical view of Carnegie Hall’s famous stage.

       Carnegie Hall’s Stern Auditorium /                            Carnegie Diner
                Perelman Stage




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       4.      These full-wall-size murals of Carnegie Hall’s famous stage, however, are far from

the only way in which Defendants blatantly and willfully attempt to create an association with

Carnegie Hall. Other walls of the Carnegie Diners feature additional images of Carnegie Hall’s

famous building and posters of its events. Additionally, Defendants have actively advertised their

restaurants’ purported connection to Carnegie Hall, including by referring to Carnegie Hall events

in Defendants’ online advertisements, and selling merchandise that references Carnegie Hall.

Defendants clearly hope that consumers who love and/or are interested in Carnegie Hall will come

to their Carnegie Diners, which have expanded beyond New York and are now also located in New

Jersey and Virginia. Defendants also have announced plans to expand even further, by reportedly

intending to franchise the restaurants and to open a Carnegie Diner in every single state by 2029.

The bottom line is that Defendants have opened and marketed a line of misleadingly Carnegie

Hall-themed restaurants without any regard to Carnegie Hall’s intellectual property rights, its need

to protect its brand, and its consumers.

       5.      Given this blatant trading on Carnegie Hall’s strong trademarks, brand, reputation,

and goodwill, Carnegie Hall tried repeatedly to reach an amicable solution in which Defendants

cease their infringing and willful conduct. Yet, Defendants have refused, dragging out settlement

talks with no ultimate intent to settle, and even apparently signing a nationwide franchisee

agreement to further expand the Carnegie Diners, after Carnegie Hall complained. As a result,

Carnegie Hall, a non-profit institution, has had no choice but to use its limited resources on this

litigation. Thus, Carnegie Hall seeks appropriate injunctive and monetary relief to protect its

famous trademarks and brand from Defendants’ willful infringement, and to protect consumers

from being deceived and confused.




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                                            PARTIES

       6.      Plaintiff The Carnegie Hall Corporation is a New York not-for-profit corporation

having its principal place of business located at 881 Seventh Avenue, New York, New York 10019.

Carnegie Hall is qualified to do business and is doing business in the State of New York and in

this judicial district. Carnegie Hall owns, uses, and licenses the CARNEGIE HALL Marks.

       7.      On information and belief, Defendant Carnegie Hospitality LLC is a limited

liability company organized under the laws of New Jersey, with a place of business located at 205

West 57th Street, New York, New York 10019. On information and belief, Carnegie Hospitality

is qualified to do business and is doing business in the State of New York and in this judicial

district, as well as in New Jersey and Virginia. On information and belief, Carnegie Hospitality

owns and/or operates the Carnegie Diners at issue in this litigation and oversees and directs the

Individual-Restaurant LLC Defendants and, in connection with the same, sells goods and services

under the Infringing Marks in this judicial district, as well as in New Jersey and Virginia. Carnegie

Hospitality also purports to own the Infringing Marks.

       8.      On information and belief, Defendant Efstathios (“Stathis”) Antonakopoulos is the

owner, operator, and/or principal of Defendant Carnegie Hospitality LLC and the Individual-

Restaurant LLC Defendants.       On information and belief, Mr. Antonakopoulos selected the

Infringing Marks, caused the Carnegie Diners to be themed around Carnegie Hall and its

intellectual property, and has made multiple statements to the press regarding his intention to

associate the Carnegie Diners with Carnegie Hall. On information and belief, Mr. Antonakopoulos

actively and knowingly selected and caused the Infringing Marks to be used in commerce in

connection with the Carnegie Diners, including in this judicial district, as well as in New Jersey

and Virginia. Below is an image of Mr. Antonakopoulos working at the 57th Street, New York




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City Carnegie Diner location from an article announcing Defendants’ plans to open a location on

8th Avenue in New York City.1

                                        Mr. Antonakopoulos at the
                                       Carnegie Diner 57th St. location




           9.       Carnegie Diner 57 LLC is a New York limited liability company with an address

at 205 West 57th Street, New York, New York 10018—the site of the first Carnegie Diner

restaurant. Carnegie Diner 57 filed a certificate of assumed name with the state of New York

assuming the name “Carnegie Diner & Cafe.” On information and belief, Carnegie Diner 57 is

owned and/or managed by Defendant Mr. Antonakopoulos and Defendant Carnegie Hospitality.

On information and belief, Carnegie Diner 57 operates the Carnegie Diner restaurant located at

205 West 57th Street, New York, New York 10018 under the direction and supervision of Carnegie

Hospitality and Mr. Antonakopoulos. On information and belief, Carnegie Diner 57 sells goods




1
    https://w42st.com/post/pastrami-new-carnegie-diner-cafe-hells-kitchen-8th-avenue/.


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and services under the Infringing Marks in this judicial district, as well as to consumers who have

traveled from other states.

       10.     Carnegie Diner 828 LLC is a New York limited liability company with an address

at 828 8th Avenue, New York, New York 10019—the site of the Carnegie Diner Times Square

restaurant. Carnegie Diner 828 filed a certificate of assumed name with the state of New York

assuming the name “Carnegie Diner & Cafe.” On information and belief, Carnegie Diner 828 is

owned and/or managed by Defendant Mr. Antonakopoulos and Defendant Carnegie Hospitality.

On information and belief, Carnegie Diner 828 operates the Carnegie Diner restaurant located at

828 8th Avenue, New York, New York 10019 under the direction and supervision of Carnegie

Hospitality and Mr. Antonakopoulos. On information and belief, Carnegie Diner 828 sells goods

and services under the Infringing Marks in this judicial district, as well as to consumers who have

traveled from other states.

       11.     Carnegie Diner Secaucus, LLC is a New Jersey limited liability with an address at

700 Plaza Dr., Secaucus, New Jersey 07094. On information and belief, Carnegie Diner Secaucus

is owned and/or managed by Defendant Mr. Antonakopoulos and Defendant Carnegie Hospitality.

On information and belief, Carnegie Diner Secaucus operates the Carnegie Diner restaurant

located at 700 Plaza Dr., Secaucus, New Jersey 07094 under the direction and supervision of

Carnegie Hospitality and Mr. Antonakopoulos. On information and belief, Carnegie Diner

Secaucus sells goods and services under the Infringing Marks within the state of New Jersey, as

well as to consumers who have traveled from other states.

       12.     Carnegie Diner Vienna LLC is a Virginia limited liability company. Carnegie

Diner Vienna’s articles of organization list “Efstathios Antonakopoulos 501 Maple Ave W,

Vienna, VA, 22180, USA” as its address, and the articles of organization state they were “executed




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in the name of the limited liability company” by Defendant Mr. Antonakopoulos. Carnegie Diner

Vienna has filed a fictitious name certificate with the Commonwealth of Virginia, adopting the

fictitious name “Carnegie Diner.” On information and belief, Carnegie Diner Vienna is owned

and/or managed by Defendant Mr. Antonakopoulos and Defendant Carnegie Hospitality. On

information and belief, Carnegie Diner Vienna operates the Carnegie Diner restaurant located at

501 Maple Ave W, Vienna, Virginia, 22180 under the direction and supervision of Mr.

Antonakopoulos and Carnegie Hospitality. On information and belief, Carnegie Diner Vienna

sells goods and services under the Infringing Marks within the Commonwealth of Virginia, as well

as to consumers who have traveled from other states.

                                JURISDICTION AND VENUE

       13.     This is an action arising under the Lanham Act 15 U.S.C. § 1051 et seq. This Court

has original jurisdiction over the subject matter of this action pursuant to 15 U.S.C. § 1121 and 28

U.S.C. §§ 1331, 1338(a). This court also has subject matter jurisdiction under 28 U.S.C. §§ 2201

and 2202. This Court has supplemental jurisdiction over the state-law claims pursuant to 28 U.S.C.

§§ 1338(b) and 1367(a).

       14.     This Court has personal jurisdiction over Carnegie Hospitality because, on

information and belief, its principal place of business, operations, and corporate decision-making

is based in New York City. Carnegie Hospitality owns, manages, and/or operates two infringing

and diluting Carnegie Diners in New York City and this district and has advertised its plans to

open at least two additional locations in the city, with one currently labeled as “Coming Soon.”

On marketing emails for the Carnegie Diners, Carnegie Hospitality lists its address as being in

New York City. On information and belief, Carnegie Hospitality has continuous and systematic

contacts with New York, including additional restaurants and “ghost kitchens” under other brands,

including but not limited to Pizza & Shakes, located at 209 W 57th St., New York, New York


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10019, and Organic Burger and NYC Pancake House, which both operate out of the first Carnegie

Diner location at 205 W. 57th St., New York, New York 10019. On information and belief,

Carnegie Hospitality transacts business within New York and within this district, has committed

trademark infringement (and the other allegations in this Complaint) within New York, has

committed trademark infringement (and other violations) outside of New York causing harm to

Carnegie Hall—a New York corporation—which it reasonably should have expected to have

consequences in New York and in this district, derives substantial revenue from interstate

commerce, and leases real property situated within New York and this district that is the subject

of the causes of action in this Complaint.

       15.     This Court has personal jurisdiction over Defendant Mr. Antonakopoulos because

he is generally present in and regularly transacts business within New York City through his

operation, management, and oversight of at least two Carnegie Diners located in this district (as

well as at least two other locations that Defendants are planning in New York City), as well as

Carnegie Hospitality’s other restaurants and ghost kitchens located in this district. Furthermore,

this Court has jurisdiction over Mr. Antonakopoulos because he has committed trademark

infringement (and the other allegations in this Complaint) within New York City and this district

by selecting the Infringing Marks employed by the Carnegie Diners in this district that he operates,

manages, and oversees. Mr. Antonakopoulos also has committed trademark infringement (and the

other allegations in this Complaint) outside of New York causing harm to Carnegie Hall—a New

York corporation—which he reasonably should have expected to have consequences in New York

and in this district. On information and belief, Mr. Antonakopoulos derives substantial revenue

from interstate commerce through his ownership, management, and/or operation of Carnegie

Diners, Carnegie Hospitality, and Individual-Restaurant LLC Defendants in multiple states




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(including in New York), which are advertised throughout the United States online and on social

media (including in particular in New York). In addition, Mr. Antonakopoulos, by and through

his ownership, management, and/or operation of Carnegie Hospitality and the Individual-

Restaurant LLC Defendants, leases real property situated in New York and in this district that is

the subject of the causes of action in this Complaint.

       16.     This Court has personal jurisdiction over Carnegie Diner 57 because it is a New

York limited liability company. On information and belief, Carnegie Diner 57 operates, manages,

and/or owns the infringing and diluting Carnegie Diner restaurant located at 205 West 57th Street,

New York, New York 10018, which is located in this district.

       17.     This Court has personal jurisdiction over Carnegie Diner 828 because it is a New

York limited liability company. On information and belief, Carnegie Diner 828 operates, manages,

and/or owns the infringing and diluting Carnegie Diner restaurant located at 828 8th Avenue, New

York, New York 10019, which is located in this district.

       18.     This Court has personal jurisdiction over Carnegie Diner Secaucus because it is a

necessary party to this action, and because it has committed trademark infringement (and the other

allegations in this Complaint) within New York, including, but not limited to advertising and

marketing its restaurant to New York residents, and has committed trademark infringement (and

the other allegations in this Complaint) outside of New York causing harm to Carnegie Hall—a

New York corporation—which it reasonably should have expected to have consequences in New

York and in this district. On information and belief, along with Carnegie Hospitality and Mr.

Antonakopoulos, Carnegie Diner Secaucus operates, manages, and/or owns the Carnegie Diner

restaurant located at 700 Plaza Dr., Secaucus, New Jersey 07094, which employes the Infringing




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Marks, and Carnegie Diner Secaucus is thus, additionally, a necessary party to this action to afford

Carnegie Hall full relief.

        19.     This Court has personal jurisdiction over Carnegie Diner Vienna because it has

committed trademark infringement (and the other allegations in this Complaint) within New York,

including, but not limited to advertising and marketing its restaurant to New York residents, and

has committed trademark infringement (and the other allegations in this Complaint) outside of

New York causing harm to Carnegie Hall—a New York corporation—which it reasonably should

have expected to have consequences in New York and in this district. On information and belief,

along with Carnegie Hospitality and Mr. Antonakopoulos, Carnegie Diner Vienna operates,

manages, and/or owns the Carnegie Diner restaurant located at 501 Maple Ave W, Vienna,

Virginia 22180, which employes the Infringing Marks, and Carnegie Diner Vienna is thus,

additionally, a necessary party to this action to afford Carnegie Hall full relief.

        20.     Venue in this district is proper pursuant to 28 U.S.C. § 1391(b) and (c) because a

substantial part of the events or omissions giving rise to Carnegie Hall’s claims occurred in this

judicial district, and a substantial part of the property that is the subject of this action is situated in

this judicial district. Further, Carnegie Hospitality, Carnegie Diner 57, and Carnegie Diner 828

maintain a place of business in this judicial district at the direction of their owner, Mr.

Antonakopoulos, and Defendants have committed trademark infringement (and the other

allegations in this Complaint) in this district, which have harmed Carnegie Hall in this district.

                              FACTS COMMON TO ALL CLAIMS

I.      Carnegie Hall and Its CARNEGIE HALL Marks

        21.     Carnegie Hall’s claims arise out of Defendants’ unfair competition and willful

infringement and dilution of Carnegie Hall’s well-known, distinctive, and famous registered and

common law CARNEGIE HALL Marks in the United States, including but not limited to U.S.


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Reg. Nos. 1,599,952, 1,818,456, 2,358,244, and 6,046,767, and its brand identity and imagery.

Such conduct harms Carnegie Hall and its trademarks, as well as innocent consumers who are

likely to be confused and deceived into thinking Defendants’ goods and services are provided,

sponsored, or endorsed by, or affiliated with Carnegie Hall.

                                    Carnegie Hall’s History

       22.     “Carnegie Hall” is one of the most iconic names and brands in the country,

including in New York, New Jersey, and Virginia, providing its goods and services to consumers

throughout the United States. As a result of 130 years of world-class performances, Carnegie Hall

is so associated with musical excellence that its reputation spawned the well-known saying: “How

do you get to Carnegie Hall? Practice, practice, practice.”

       23.     Carnegie Hall’s physical location in New York City is a world-famous performance

venue and a city, state, and national historic landmark. Home to three iconic stages—the renowned

Stern Auditorium / Perelman Stage, the intimate Weill Recital Hall, and the innovative Zankel

Hall—Carnegie Hall is widely recognized as one of the most celebrated music venues in the world.

For 130 years, its stages have welcomed some of the world’s finest artists, from Tchaikovsky,

Dvořák, Mahler, and Bartók, to George Gershwin, Billie Holiday, Benny Goodman, Judy Garland,

and The Beatles. Carnegie Hall has also welcomed renowned artists such as Led Zeppelin, Jethro

Tull, Neil Young, Elton John, David Bowie, Bruce Springsteen, Björk, Jay-Z, Busta Rhymes,

Queen Latifah, Natalia Lafourcade, Bob Dylan, and more.

       24.     As a national, state, and city landmark, both Carnegie Hall’s exterior and interior

are integral to its brand and widely recognized as associated with the CARNEGIE HALL Marks.

In fact, Carnegie Hall’s immense goodwill and cultural significance are responsible for the creation

of New York historical preservation law in the 1960s, when a coalition led by Eleanore Roosevelt

successfully lobbied New York state to pass legislation designed to allow for the preservation of


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Carnegie Hall and similar historically and aesthetically important buildings. A widely recognized

view of the exterior of Carnegie Hall from West 57th Street and 7th Avenue, which has been used

in Carnegie Hall’s marketing and merchandise, is shown below.

                                   Carnegie Hall - Exterior




        25.     Carnegie Hall’s renowned Stern Auditorium / Perelman Stage has hosted

 countless historic concerts and events since the 1890s, from classical music to popular and

 world-music concerts, comedy shows, major film and TV screenings, to benefits, and business

 meetings. Carnegie Hall’s Stern Auditorium / Perelman Stage is widely recognized as one of

 the finest stage and event spaces in the country and is indelibly associated with Carnegie Hall

 and its goods and services. The Stern Auditorium / Perelman Stage has been featured in

 numerous well-known films and television programs, as detailed further below, and its use as a

 setting immediately communicates to viewers that the character has reached the pinnacle of




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 artistic success. A photograph of the interior of Carnegie Hall’s Stern Auditorium / Perelman

 Stage, which has been featured in Carnegie Hall marketing materials and merchandise, is shown

 below.

                             Stern Auditorium / Perelman Stage




                               The CARNEGIE HALL Marks

       26.    The Carnegie Hall Entities have continuously and exclusively used the CARNEGIE

HALL Marks throughout the course of their 130-year history. All of the Carnegie Hall Entities’

goods and services have been branded under the CARNEGIE HALL Marks. The CARNEGIE

HALL Marks enjoy both extensive common law rights and federally registered rights.

       27.    Throughout the brand’s long history, the CARNEGIE HALL Marks have been

regularly featured in the Carnegie Hall Entities’ advertising and marketing materials, such as

pamphlets, brochures, Playbills, websites, posters, social media, and more. As detailed further

below, the CARNEGIE HALL Marks also are featured on merchandise, and used in connection

with a wide variety of goods and services.




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        28.   In recognition of Carnegie Hall’s rights, the United States Patent and Trademark

Office (“USPTO”) has granted it numerous trademark registrations for the CARNEGIE HALL

Marks. Many of these registrations have become incontestable within the meaning of Section 15

of the Lanham Act, 15 U.S.C. § 1065, meaning that their distinctiveness, and Carnegie Hall’s

ownership and right to exclusively use the marks cannot be challenged. Attached hereto as Exhibit

A are copies of the registrations for the registered CARNEGIE HALL Marks at issue in this

litigation (the “Registered CARNEGIE HALL Marks”), which are also listed below.

 Mark              Filing       Reg.        Date of      Goods and Services
                   Date         Date/No.    First Use
 CARNEGIE          March 1,     June 5,     January 8,
                                                    Int’l Class: 41
 HALL              1989         1990        1895    Concert and performance hall rental
                                                    services; theatrical ticket agency
                                Reg. No.            services; recording studio services;
                                1,599,952           organizing and conducting musical
                                                    concerts, orchestral concerts, dance
                                                    performances, fashion shows, and
                                                    competitions and award ceremonies in
                                                    the field of music; production services
                                                    for shows, radio programs, film and
                                                    video tape programs; providing
                                                    instruction services, classes, lecture,
                                                    and seminars in the field of music
 CARNEGIE          June 4,      Jan. 25,  September Int’l Class: 16
 HALL              1990         1994      1, 1990   printed matter; namely, posters, paper
                                                    bags, and paperweights
                                Reg. No.
                                1,818,456
 CARNEGIE          January      June 13,  September Int’l Class: 9
 HALL              30, 1998     2000      1, 1990   Musical sound recording, namely, pre-
                                                    recorded phonograph records, audio
                                Reg. No.            tapes, video cassettes, compact discs
                                2,358,244           and laser discs featuring music;
                                                    educational products for children,
                                                    namely, pre-recorded audio and video
                                                    cassettes, video discs, optical discs for
                                                    transmitting and reproducing text,
                                                    sound and/or images, interactive cd-
                                                    rom and computer software in the field
                                                    of music, featuring directories,


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Mark         Filing    Reg.       Date of       Goods and Services
             Date      Date/No.   First Use
                                                histories, and other information related
                                                to musical events, products, and
                                                persons

                                                Int’l Class: 16
                                                Book about music; calendars; coloring
                                                books; graphic art reproductions;
                                                greeting cards; note pads; paper
                                                napkins; bookmarks; pencils; pens;
                                                postcards; crossword puzzles; sheet
                                                music; educational products featuring
                                                coloring and activity books, flash
                                                cards, stickers, workbooks, activity
                                                and informational kits, all featuring
                                                and relating to musical events,
                                                products, and people; paper banners;
                                                fiction and non-fiction books featuring
                                                information related to musical events,
                                                products, and people; instructional and
                                                teaching materials composed of text
                                                and/or pictorial representations all in
                                                the field of music and related to
                                                musical events, products, and people

                                                Int’l Class: 18
                                                Carry all bags; tote bags; wallets;
                                                umbrellas; billfolds, key cases

                                                Int’l Class: 25
                                                T-shirts, shirts; hats; caps; jackets;
                                                sweaters; scarves; ties, socks

                                            Int’l Class: 28
                                            stuffed toys; christmas tree ornaments;
                                            board games; music box toys; card
                                            games; dolls; play figures; wind-up
                                            toys; jigsaw puzzles; musical toys
CARNEGIE     October   May 5,     September Int’l Class: 9
HALL         2, 2019   2020       13, 2012  Cell phone holders, opera glasses and
                                  (Class 9) magnets
                       Reg. No.
                       6,046,767 September Int’l Class: 14
                                 20, 2012   Charms, namely, charms for jewelry
                                 (Class 14) and charms for key chains; lapel pins


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Mark         Filing     Reg.       Date of        Goods and Services
             Date       Date/No.   First Use

                                   October        Int’l Class: 18
                                   30, 2013       Luggage tags
                                   (Class 18)
                                           Int’l Class: 20
                                September Personal compact mirror
                                17, 2012
                                (Class 20) Int’l Class: 21
                                           Insulated water bottles sold empty,
                                June 1,    metal water bottles sold empty,
                                2005       coasters not of paper or textile,
                                (Class 21) drinking flasks, shot glasses, mugs and
                                           boxes for mint candies
                                September
                                10, 2012   Int’l Class: 28
                                (Class 28) Golf balls
CARNEGIE     December January   December Int’l Class: 9
HALL+        6, 2021  2, 2024   8, 2021    Downloadable software applications
                                           for streaming of audio, video, and
                      Reg. No.             audiovisual material, namely, musical,
                      7,263,101            narrative, documentary and artistic
                                           recorded audiovisual performances via
                                           a paid subscription video on-demand
                                           service

                                                  Int’l Class: 38
                                                  Streaming of audio, video, and
                                                  audiovisual material via the Internet,
                                                  namely, delivery of musical, narrative,
                                                  documentary and artistic recorded
                                                  audiovisual performances via a paid
                                                  subscription video on-demand service

                                              Int’l Class: 41
                                              Provision of non-downloadable
                                              musical, narrative, documentary and
                                              artistic recorded audiovisual
                                              performances via a paid subscription
                                              video on-demand service
             January    July 15,  December Int’l Class 9: Cell phone holders, opera
             15, 2021   2021      16, 2021    glasses and magnets; sound recordings,
                                  (Classes    namely, pre-recorded compact discs
                        Reg. No. 9, 10, 14, featuring music; video recordings,
                        6,804,867 16, 18, 20, namely, pre-recorded DVD's featuring


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Mark         Filing    Reg.       Date of        Goods and Services
             Date      Date/No.   First Use
                                  21, 25,        music; prerecorded phonograph
                                  28)            records, compact discs featuring
                                                 music; educational products for
                                  June 8,        children, namely, pre-recorded audio
                                  2021           and video cassettes, video discs,
                                  (Class 41)     optical discs for transmitting and
                                                 reproducing text, sound and/or images,
                                                 interactive CD-ROMs and recorded
                                                 and downloadable computer software
                                                 in the field of music, featuring
                                                 directories, histories, and other
                                                 information related to musical events,
                                                 products, and persons

                                                 Int’l Class 10: Fashion face masks
                                                 being sanitary masks for protection
                                                 against viral infection

                                                 Int’l Class 14: Charms and lapel pins
                                                 for jewelry

                                                 Int’l Class 16: Printed matter, namely,
                                                 posters made of paper and paper bags;
                                                 paperweights; books about music;
                                                 printed coloring books; graphic art
                                                 reproductions; printed greeting cards;
                                                 printed note pads; bookmarks; pencils;
                                                 pens; printed postcards; printed sheet
                                                 music; educational products featuring
                                                 coloring and activity books, flash
                                                 cards, stickers, workbooks, activity
                                                 and informational kits, all featuring
                                                 and relating to musical events,
                                                 products, and people; paper banners;
                                                 series of printed fiction and non-fiction
                                                 books featuring information related to
                                                 musical events, products, and people;
                                                 printed instructional and teaching
                                                 materials composed of text and/or
                                                 pictorial representations all in the field
                                                 of music and related to musical events,
                                                 products, and people




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Mark         Filing    Reg.       Date of       Goods and Services
             Date      Date/No.   First Use
                                                Int’l Class 18: Luggage tags; carry-all
                                                bags; tote bags; wallets; umbrellas;
                                                billfolds, key cases

                                                Int’l Class 20: Personal compact
                                                mirrors

                                                Int’l Class 21: Reusable and insulated
                                                water bottles and metal water bottles
                                                sold empty; coasters not of paper or
                                                textile, flasks, shot glasses, mugs and
                                                boxes for mint candies sold empty

                                                Int’l Class 25: T-shirts, shirts; hats;
                                                caps; jackets; sweaters; scarves; ties;
                                                suspenders; socks

                                                Int’l Class 28: Golf balls; three-
                                                dimensional puzzles; stuffed toys;
                                                Christmas tree ornaments; board
                                                games; music box toys; card games;
                                                plush toys for children made of felt;
                                                dolls; play figures; wind-up toys;
                                                jigsaw puzzles; manipulative puzzles;
                                                musical toys; paper dolls

                                                Int’l Class 41: Entertainment, namely,
                                                live music concerts; educational
                                                services, namely, conducting classes in
                                                the field of music; organizing and
                                                conducting musical programs, namely,
                                                auditions, training and tour
                                                performances for young musicians
                                                who perform together as a symphony
                                                orchestra; concert and performance
                                                hall rental services; theatrical ticket
                                                agency services; recording studio
                                                services; organizing and conducting
                                                musical concerts, orchestral concerts,
                                                dance performances, fashion shows,
                                                and competitions and award
                                                ceremonies in the field of music;
                                                Entertainment services in the nature of
                                                the production of shows, radio



                                    19
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 Mark                 Filing    Reg.         Date of       Goods and Services
                      Date      Date/No.     First Use
                                                           programs, film and video tape
                                                           programs; providing instruction
                                                           services, classes, lecture, and seminars
                                                           in the field of music; Entertainment
                                                           and education services, namely, a
                                                           multimedia program series featuring
                                                           orchestra, opera, jazz, folk music, great
                                                           composers, period styles of music and
                                                           instrumentals, together with
                                                           appropriate commentary, text, or
                                                           animated graphic images distributed
                                                           via Internet and to intranets

 LIVE AT              October   February     May 24,       Int’l Class: 9
 CARNEGIE             6, 2005   23, 2010     1990          Sound recordings, namely, compact
 HALL                                                      discs featuring music; video
                               Reg. No.                    recordings, namely, dvd’s featuring
                               3,753,335                   music
 CARNEGIE             December April 15, December          Int’l Class: 41
 HALL                 26, 2000 2003      1, 2001           Providing interactive multimedia
 LISTENING                                                 educational and entertainment services
 ADVENTURES                     Reg. No.                   to the internet and to intranets,
                                2,707,933                  featuring orchestra, opera, jazz, folk
                                                           music, great composers, period styles
                                                           of music and instrumentals, together
                                                           with appropriate commentary, text, or
                                                           animated graphic images

        29.    The USPTO accepted and registered Carnegie Hall’s applications for the

Registered CARNEGIE HALL Marks without proof of secondary meaning, reflecting that the

CARNEGIE HALL Marks are inherently distinctive when used in connection with Carnegie Hall’s

goods and services.

        30.    The CARNEGIE HALL Marks are instantly recognizable as the source of Carnegie

Hall’s goods and services. As a result of the Carnegie Hall Entities’ widespread and continuous

use of the CARNEGIE HALL Marks in connection with their goods and services for over a century,

and the significant promotion, advertising, third-party acclaim, and commercial success thereunder,




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the CARNEGIE HALL Marks have developed tremendous goodwill and achieved recognition and

acclaim in the United States, including in New York, New Jersey, and Virginia. This makes them

distinctive in the minds of consumers and famous among the general consumer population in the

United States, as well as specifically in New York, New Jersey, and Virginia.

       31.     Carnegie Hall—a non-profit whose mission is to present extraordinary music and

musicians on the three stages of its legendary venue, to bring the transformative power of music

to the widest possible audience, to provide visionary education programs, and to foster the future

of music through the cultivation of new works, artists, and audiences all through a wide variety of

goods and services—has invested extensively in its brand and trademarks. As a result of Carnegie

Hall’s efforts building and investing in its CARNEGIE HALL Marks, as well as the Carnegie Hall

Entities’ widespread, continuous, and exclusive use thereof, CARNEGIE HALL has become a

famous and distinctive name and trademark.

       Publicity and Promotion for Carnegie Hall and Its CARNEGIE HALL Marks

       32.     The Carnegie Hall Entities have offered goods and services under the CARNEGIE

HALL Marks throughout the past 130 years, earning Carnegie Hall substantial goodwill and

recognition across the country and making it a well-known and famous brand.

       33.     Since the Carnegie Hall performance venue opened in the 1890s, the Carnegie Hall

Entities have sold millions of tickets to consumers from across the country, as well as

internationally.   Carnegie Hall has spent, and continues to spend, significant amounts on

advertising and promoting its brand.

       34.     As a well-known and famous brand, Carnegie Hall also regularly receives both

solicited and unsolicited media coverage.      Such coverage has been featured in nationally

distributed publications like The New York Times, Los Angeles Times, Condé Nast Traveler, and

The New Yorker; segments featured on local and national news networks, including PBS, NBC


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News, CBS Sunday Morning, and CNN; and popular tourism and entertainment websites such as

Trip Advisor, nyctourism.com and cititour.com. For instance, Condé Nast Traveler wrote, “[s]ince

opening in 1891, Carnegie Hall has become synonymous with musical achievement[.]” 2

Nyctourism.com also lauded Carnegie Hall as a “world-famous concert venue,” a “New York City

landmark,” and a “must-see music attraction.”3

        35.     Numerous online publications have provided media coverage for various goods and

services offered by Carnegie Hall. For example, the Carnegie Hall Joan and Sanford I. Weill Café

(“Weill Café,” which is discussed further below) has appeared in publications discussing dining

options, such as The New York Times, Eater, and TimeOut.

        36.     Numerous third-party travel websites have also provided coverage, reviewing and

promoting Carnegie Hall’s goods and services, including Trip Advisor, Expedia, Yelp, and Resy.

As shown below, Trip Advisor describes Carnegie Hall as a “landmark performance center,” which

includes “[s]uperb restaurants, a museum and gift shop[.]”4




2
  https://www.cntraveler.com/activities/new-york/carnegie-hall.
3
  https://www.nyctourism.com/places/carnegie-hall/.
4
  https://www.tripadvisor.com/Attraction_Review-g60763-d116237-Reviews-Carnegie_Hall-
New_York_City_New_York.html.


                                                   22
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        37.     Owing to its fame and success, the Carnegie Hall performance venue and the

CARNEGIE HALL Marks have been featured in numerous award-winning TV shows and films,

including but not limited to Carnegie Hall (1947), Music of the Heart (1999), Florence Foster

Jenkins (2016), Green Book (2018), The Marvelous Mrs. Maisel (2022), American Symphony

(2023), and Maestro (2023), among others. Such TV shows and films have achieved critical

acclaim and have been widely viewed. For example, Green Book grossed over $320 million

worldwide and won the award for Best Picture at both the Oscars and Golden Globes. Florence

Foster Jenkins (starring Meryl Streep) was nominated for 48 awards, winning 10, and Maestro

(starring Bradley Cooper and Carey Mulligan) was nominated for seven Oscars. The Marvelous

Mrs. Maisel was nominated for 278 awards, winning 104, including winning the Golden Globe for

Best Television Series – Musical or Comedy twice, and its third season was watched by up to 3.2

million viewers in the first week alone.5

     Carnegie Hall’s Goods and Services Offered Under the CARNEGIE HALL Marks

        38.     The Carnegie Hall Entities offer a wide variety of goods and services under the

CARNEGIE HALL Marks. For example, an evening at Carnegie Hall’s iconic performance venue

is more than just an opportunity to see a performance. Consumers can experience a prix fixe pre-

concert dining menu at the Carnegie Hall Weill Café, grab a drink or a quick bite at one of Carnegie

Hall’s six intermission bars, peruse items from Carnegie Hall’s archival collection in the Rose

Museum, and purchase merchandise and souvenirs from the in-person or online gift shop.

        39.     Carnegie Hall also offers goods and services to consumers nationwide who are

unable to attend in person. Those consumers are able to experience performances online via the

Carnegie Hall+ streaming service or on the radio via Carnegie Hall Live (broadcasted and


5
 https://www.thewrap.com/the-marvelous-mrs-maisel-season-3-was-watched-by-3-2-million-viewers-its-first-week-
nielsen-says/


                                                     23
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produced by WQXR and Carnegie Hall); listen to Carnegie Hall’s If This Hall Could Talk,

Afrofuturism, Great Music Teaching, and other podcasts (available on all podcast platforms); and

explore Carnegie Hall’s official YouTube channel and Carnegie Hall Playlists (available on Apple

Music and Spotify). Carnegie Hall encourages listeners inspired by these iconic performances to

launch their own musical journey through free digital content for families, educators, and young

musicians offered through Carnegie Hall’s Weill Music Institute. Consumers nationwide can (and

do) purchase tickets and merchandise online.

       40.     Carnegie Hall’s goods and services are accessible to members of the public of all

backgrounds.    For example, Carnegie Hall offers concert tickets at all price points, from

subscription tickets, to discount programs, to free concerts in partnership with local community

organizations. Carnegie Hall also provides programming for people of all ages and welcomes

consumers from all over the country and around the world, whether they are attending a concert,

dining, or simply touring the performance venue.

       41.     The Carnegie Hall Entities offer a wide range of goods and services, all of which

are branded and offered under the famous, distinctive, and well-known CARNEGIE HALL Marks.

For example, as mentioned above, Carnegie Hall offers exceptional musical performances,

including concert series curated by acclaimed and famous artists and composers; citywide festivals

that feature collaborations with leading New York City cultural institutions; orchestral

performances, chamber music, new music concerts, and recitals; as well as the best in jazz, world,

and popular music.

       42.     In addition to these performance activities, Carnegie Hall offers a wide variety of

related goods and services under the CARNEGIE HALL Marks. For instance, Carnegie Hall’s

Weill Music Institute, housed in the approximately 60,000-square foot Resnick Education Wing




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within Carnegie Hall, offers an extensive array of music education and social impact programs

that annually serve hundreds of thousands of people, playing a central role in Carnegie Hall’s

commitment to making great music accessible to as many people as possible. For example,

Carnegie Hall’s Link Up program introduces students in grades three through five to orchestral

music through an immersive experience in which students nationwide come together with their

local orchestras to learn about, listen to, and perform great music. Additionally, Carnegie Hall’s

Lullaby Project pairs new and expecting parents and caregivers with professional artists to write

and sing personal lullabies for their babies, including parents in healthcare settings, homeless

shelters, high schools, and correctional settings.

       43.     Carnegie Hall is also home to its Susan W. Rose Archives and Museum (“Rose

Museum”). Carnegie Hall’s Rose Museum, which opened its doors in 1991, chronicles Carnegie

Hall’s history—its exhibits include concert programs, photographs, autographed posters, musical

manuscripts, and video—to tell the history of Carnegie Hall and the events that made it famous.

The Rose Museum is not only home to exhibitions but also an homage to all the great artists,

events, and civic leaders that have built up Carnegie Hall’s fame and reputation. Below is an

example of an exhibit from Carnegie Hall’s Rose Museum—a collage of “Live at Carnegie Hall”

record album covers capturing notable performances from the past 130 years.




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       44.     Under the CARNEGIE HALL Marks, the Carnegie Hall Entities also offer

restaurant services and various food and beverage options. For instance, consumers can eat at the

Carnegie Hall Weill Café, which offers casual breakfast and lunch options, as well as a

sophisticated pre-concert dining prix fixe menu. All of these dining options are available to both

the general public and ticket holders alike. Below is a capture of the webpage for the Carnegie

Hall Weill Café, as well as a photo of the interior of the café.




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       45.    As shown in the examples below, the Carnegie Hall Weill Café is offered under the

CARNEGIE HALL Marks, including, but not limited to through its signage, menus, employee

uniforms, napkins, and promotional materials:

               Carnegie Hall Weill Café – Uniforms, Advertising, and Napkins




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                               28
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        46.     Carnegie Hall also advertises the food and beverage services available at the

 Carnegie Hall Weill Café via the official Carnegie Hall Instagram account, as depicted below.




       47.    In addition, the Carnegie Hall Entities offer food and beverages before

performances and during intermissions through six intermission bars, which are open to all

concertgoers, and the Patron Lounge, which is open to certain donors and supporters. The

Carnegie Hall Entities have offered food and beverage services continuously for decades, since at

least 1986.

       48.    Carnegie Hall has also licensed the CARNEGIE HALL Marks to third parties,

including in connection with restaurant services. For example, Carnegie Hall has licensed the

CARNEGIE HALL Marks to The Park Hyatt New York, located at 153 W. 57th St., New York,

New York, in connection with the hotel’s restaurant services in its The Living Room restaurant,



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which featured a pre-concert prix fixe menu. Other food, beverage, and hospitality licensing

arrangements are within Carnegie Hall’s natural zone of expansion as well. An image of the Park

Hyatt’s menu offered under the CARNEGIE HALL Marks is below.




       49.    Carnegie Hall also sells CARNEGIE HALL-branded merchandise through its

Carnegie Hall Shop, as well as on its website. Carnegie Hall’s merchandise includes, but is not

limited to, CARNEGIE HALL-branded t-shirts, tote bags, hats, notebooks, fridge magnets,

accessories, and more. Items available in the Carnegie Hall Shop bear the CARNEGIE HALL

Marks, and many also include images of the exterior and/or interior of the Carnegie Hall


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performance venue. Below are photos of the Carnegie Hall Shop, a capture of the online storefront,

and examples of CARNEGIE HALL-branded merchandise available at the Carnegie Hall Shop,

including magnets, notebooks, clothing, snow globes, and holiday ornaments displaying the

performance venue in connection with the CARNEGIE HALL Marks.

                                  The Carnegie Hall Shop




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              The Carnegie Hall Shop – Online Storefront




                Examples of Carnegie Hall Merchandise




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       50.    Carnegie Hall, as a leader in musical and cultural excellence, continues to expand

its goods and services. Most recently, Carnegie Hall introduced a new subscription video-on-

demand service which features streamed performances from Carnegie Hall alongside

programming from other prestigious stages around the world. Carnegie Hall also offers podcast

series featuring the world’s most celebrated artists and educators, which further bring its goods

and services to audiences all over the world. Examples of Carnegie Hall’s subscription video-on-

demand service, Carnegie Hall+ (available through Apple TV, Prime Video, Spectrum, Xfinity,

Xumo, Verizon, Cox, Dish, Sling, and Astound Broadband), and podcast services (available via

Apple Podcasts, Spotify, Pocket Casts, and Overcast) are shown below.




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                            Carnegie Hall+




                         Carnegie Hall Podcasts




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       51.    Carnegie Hall has invested significant resources in developing and promoting its

goods and services under the CARNEGIE HALL Marks across the country and around the world.

The CARNEGIE HALL Marks appear in a wide variety of advertisements and promotional

materials for Carnegie Hall’s concerts, educational programs, museum, café, and more, including,

but not limited to, brochures, websites, and social media accounts (with hundreds of thousands of

followers) promoting Carnegie Hall’s goods and services.        As a result of Carnegie Hall’s

investment, the CARNEGIE HALL Marks are one of the most recognized brands in the United

States including in New York, New Jersey, and Virginia.

       52.    Carnegie Hall also prominently uses images of its exterior in its social media

marketing, not only in posts, but also as its YouTube and Facebook banner images, as seen in the

below examples.

                         Carnegie Hall – Exterior – Instagram Post




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           Carnegie Hall – Exterior – Facebook Banner Picture




                    Carnegie Hall – Exterior - X Post




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                     Carnegie Hall – Exterior – Youtube Banner Photo




       53.    Carnegie Hall’s social media marketing also regularly features images of the

interior of Carnegie Hall’s distinctive Stern Auditorium / Perelman Stage, taken from both the

audience and performer’s perspective, as shown in the images below that appear on Carnegie

Hall’s Instagram page.




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       54.     Carnegie Hall also partners with corporate sponsors to promote its goods and

services. For example, Carnegie Hall partners with Mastercard to offer cardholders an annual

ticket presale purchasing opportunity, as well as “experience” tickets that include a three-course

meal at the Carnegie Hall Weill Café, followed by a concert in Carnegie Hall’s Stern Auditorium

/ Perelman Stage. Both are promoted via Mastercard’s priceless.com platform, as well as

Mastercard’s email and social media marketing channels. Carnegie Hall also partners with Bank

of America to provide discounted tickets to Bank of America cardholders, which Carnegie Hall

and Bank of America promote on their respective websites, at Bank of America branches, and on

Carnegie Hall’s social media channels. Carnegie Hall has also partnered with the United Airlines

MileagePlus Exclusives program to offer consumers concert tickets in exchange for airline miles.

       55.     Carnegie Hall’s various educational programs also team with partners across the

country and around the world, including with regional and national orchestras and symphonies.



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Carnegie Hall’s partnerships with teaching artists and arts organizations are designed to bring

Carnegie Hall’s programming and resources to communities, schools, and school districts across

the country, as well as abroad.

II.    Defendants’ Willful Infringement of the CARNEGIE HALL Marks

       56.       On information and belief, without Carnegie Hall’s authorization, Defendants

opened their first Carnegie Diner at 205 West 57th Street in New York City, across the street from

Carnegie Hall.

       57.       What began as a single diner across the street from Carnegie Hall has even more

recently expanded into a chain of Carnegie Hall-themed restaurants across New York City, as well

as in New Jersey and Virginia, with plans to expand to all 50 states (and even internationally). On

information and belief, Defendants have gradually expanded, now with locations in New York,

New Jersey, and Virginia. On information and belief, Defendants opened their second Carnegie

Diner located in Secaucus, New Jersey. On information and belief, Defendants opened a third

Carnegie Diner location in Times Square, New York. On information and belief, Defendants

opened a fourth Carnegie Diner location in Vienna, Virginia.         On information and belief,

Defendants have announced plans to open another (fifth) location in New York City location—

located at 1185 Avenue of the Americas—and have plans for another (sixth) location in New York

City as well.

       58.       Moreover, in an April 2024 interview, Defendant Mr. Antonakopoulos stated that

Carnegie Hospitality “just signed a nationwide franchise contract. By the end of summer 2024,

we’ll start franchising Carnegie Diner & Café. We believe we can have one location in every

state—at least. That’s our goal over five years,” and stated that Defendants intend to open




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locations internationally as well, beginning in Greece.6 These expansion plans were developed

despite Carnegie Hall’s complaints and repeated attempts to reach an amicable resolution (before

Defendants apparently signed a nationwide franchise contract), as well as growing consumer

confusion and association with Carnegie Hall.

        59.      On information and belief, Defendants built Carnegie Diner’s brand on the

goodwill and reputation of Carnegie Hall and its CARNEGIE HALL Marks, intending to trade off

of Carnegie Hall’s famous brand. For example, in an interview with Northern Virginia Magazine,

Carnegie Hospitality’s owner, Defendant Mr. Antonakopoulos, admitted that Carnegie Diner

began with “an idea to pay homage to Carnegie Hall.”7 In another interview with On New Jersey,

Mr. Antonakopoulos described Carnegie Diner as “all about the music of Carnegie Hall,” stating

that Defendants “created [their] brand and [their] restaurants” by “paying an homage to all the

people who played at [Carnegie Hall].”8

        60.      This is no “homage”; it is theft. Defendants admit to knowingly creating a chain

of restaurants named after Carnegie Hall, with images of Carnegie Hall and its famous

performances, specifically to draw a connection between the two brands. Defendants are using

the intellectual property and goodwill of a non-profit institution for their own financial advantage

and profit, paying nothing to Carnegie Hall and diluting the trademark and brand that the Carnegie

Hall Entities have built over more than a century. Just as Defendants would not be permitted to

open an unlicensed Disney-themed café (much less profit off a franchised chain of such cafés),

Defendants cannot brazenly exploit the CARNEGIE HALL Marks and brand for their own




6
  https://www.estiator.com/hitting-the-high-notes/ (emphasis added).
7
  https://northernvirginiamag.com/food/food-news/2024/05/23/viennas-carnegie-diner-is-almost-open/ (emphasis
added).
8
  https://www.youtube.com/watch?v=F82CdWFFv9o at 3:47.


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commercial gain and take advantage of patrons that are likely to think it is affiliated with Carnegie

Hall. To do so constitutes willful infringement, dilution, and unfair competition.

         61.   The word “CARNEGIE” is, notably, the most prominent aspect of Defendants’

Carnegie Diner logo, appearing in larger, bold-faced font, contrasting with the smaller, non-bolded

“DINER & CAFE,” as depicted below.




         62.   To be clear, Carnegie Diner does not merely utilize the name “Carnegie”—it is

themed around Carnegie Hall. Its décor, branding strategy, and merchandise all focus on and trade

off of Carnegie Hall, including its trademarks and brand.

         63.   Defendants’ unlicensed restaurants include intentional and extensive use of the

Infringing Marks, including full-wall-size murals of the exterior and interior of the Carnegie Hall

performance venue and other indicia suggesting that the Carnegie Diners and Carnegie Hall are

affiliated with one another or that Carnegie Hall endorses the Carnegie Diners’ use of the

Infringing Marks. As discussed in detail below, Defendants have also used these images of

Carnegie Hall in their social media alongside Carnegie Hall hashtags and location tags to reinforce

an association with Carnegie Hall and attract consumers searching for content related to Carnegie

Hall.

         64.   Defendants’ use of the Infringing Marks in connection with the Carnegie Diners is

likely to cause consumer confusion because such use leads them to mistakenly believe that there

is a connection, sponsorship, or association between Defendants and Carnegie Hall, or that the

Carnegie Diners are owned, operated, sponsored, endorsed by, or affiliated with Carnegie Hall,

when that is not the case.



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       65.     Consumer confusion is particularly likely given Defendants’ extensive efforts to

trade on Carnegie Hall’s goodwill and reputation, including the use of highly similar (and in

relevant part identical) trademarks, imagery and other marketing collateral that reinforce a

nonexistent association with Carnegie Hall. Moreover, the similarity of the goods and services

offered by Defendants to those of Carnegie Hall, the target customers of those goods and services,

and the way Defendants’ goods and services are marketed, advertised, and promoted, including

the channels of trade in which they appear under the Infringing Marks increase even further the

likelihood of such confusion.

       66.     For example, as shown below, each Carnegie Diner location extensively uses the

Infringing Marks, including full-wall mural images of the interior of Carnegie Hall, which make

it seem like consumers are eating at Carnegie Hall. The Times Square and Secaucus, New Jersey

locations also feature large mural images of the exterior of Carnegie Hall, as shown below.

                   Carnegie Diner at 205 West 57th Street, New York City




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            Carnegie Diner in Times Square, New York City




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                Carnegie Diner in Secaucus, New Jersey




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                             Carnegie Diner in Vienna, Virginia




       67.    Defendants’ use of full-wall-size images has even led to the room shown in the

above photograph of the Carnegie Diner location in Vienna, Virginia, becoming known as the

“Carnegie Hall room” among customers, which makes sense given the large photograph of

Carnegie Hall’s famous stage.9

       68.     In fact, on information and belief, Defendants designed the wall-sized murals in

part as a marketing tool, by which they encourage consumers to take and post photographs of

themselves at Carnegie Diner that make it look like they are actually on the famous Carnegie Hall

stage. Below are images appearing in social media posts from the accounts of Defendant Mr.

Antonakopoulos and consumers taken in front of these murals in which the subjects tag themselves




9
 https://www.yelp.com/biz/carnegie-diner-and-cafe-
vienna?hrid=oqRY5tHVn4DxlfXsRaBEgA&utm_campaign=www_review_share_popup&utm_medium=copy_link
&utm_source=(direct).


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as being at Carnegie Diners. The first image is from Mr. Antonakopoulos’s Instagram account

and depicts him, second from the left.




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       69.    Not only do Defendants encourage consumers to pose and photograph themselves

in front of Defendants’ unauthorized replicas of Carnegie Hall’s famous Stern Auditorium /

Perelman Stage, but Defendants also use these replicas heavily in their own online marketing. For

example, the official Carnegie Diner Instagram account features images of celebrity guests, using

the replica as a backdrop, as seen in the below examples featuring actor Matthew Broderick and

UFC Heavyweight Champion Jon Jones.




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       70.    Marketing videos for Carnegie Diner, posted on social media, also have focused on

these blown-up images of Carnegie Hall, leading consumers to believe that the posts depict

Carnegie Hall’s famous Stern Auditorium / Perelman Stage, when in fact, the videos were taken



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at a Carnegie Diner location. Below are screenshots of the thumbnails for promotional videos

featured on Carnegie Diner’s official Instagram account.

                DMV Adventures Review                        Carnegie Diner Promotional Video




       71.      Indeed, this first image, promoted on Carnegie Diner’s Instagram page, is for a

video review of the Vienna, Virginia location, by DMV Adventures. The reviewer states “I’m

eating on the stage of Carnegie Hall,” while using the wall-sized mural as a backdrop for his

video review.

       72.      Defendants also use their full-wall murals of the exterior of Carnegie Hall as part

of their marketing strategy. Below is an image from the Carnegie Diner Instagram account,

featuring a photograph of the winner of a Carnegie Diner gift card in front of the mural of Carnegie

Hall’s exterior.




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       73.    In addition, with the intent to misrepresent their goods and services as connected to

Carnegie Hall, Defendants have covered the Carnegie Diners’ walls with collages of photographs

of Carnegie Hall, as well as posters, advertisements, and photographs of famous musicians and

other celebrities who have appeared at Carnegie Hall throughout the years. Examples of such

collages are shown below:




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       74.     Defendants’ restaurants also sell merchandise that trades off of the CARNEGIE

HALL Marks and is confusingly similar to that sold in-person and online by the Carnegie Hall

Shop. For instance, Carnegie Diner merchandise has focused on Carnegie Hall and Carnegie

Hall’s landmark status, tying its own brand to that of Carnegie Hall. For example, Defendants

have sold a t-shirt, depicted below, with “CARNEGIE” spelled out in yellow subway line bubbles,

with “A NEW YORK CITY LANDMARK” written underneath.                    Below that, the word

“CARNEGIE” appears prominently, with “Diner and Café” in small letters below that. The

“landmark” referred to is clearly Carnegie Hall.




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       75.    Carnegie Diner also has sold merchandise that reproduces posters of famous

Carnegie Hall performances and features the CARNEGIE HALL Marks on t-shirts, along with the

Carnegie Diner logo beneath, thus reinforcing the (false) connection between Carnegie Hall and

Carnegie Diner. Below is an image of a t-shirt reproducing the poster advertising a famous 1974

concert, “Maria Callas at Carnegie Hall,” for sale at the Carnegie Diner Times Square location.




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       76.     Carnegie Diner’s social media marketing also has used the CARNEGIE HALL

Marks, including using @carnegiehall and #carnegiehall as tags. In addition, Carnegie Diner’s

social media accounts have hyperlinked to Carnegie Hall’s social media pages, set Carnegie Hall

as its location on posts, and have extensively referenced concerts at Carnegie Hall in an attempt to

associate Carnegie Diner with Carnegie Hall and benefit from Carnegie Hall’s goodwill. For

example, as shown below, in one Facebook post, Defendants wrote, “What would Carnegie Diner

be without @carnegiehall?” referencing in great detail a specific performance at Carnegie Hall

and urging consumers to visit Carnegie Diner as part of the experience, in a blatant attempt to trade

on Carnegie Hall’s trademarks, services, reputation, and goodwill.             All of this clearly

communicates to consumers that Carnegie Hall has approved, sponsored, endorsed, licensed, or

otherwise partnered with Carnegie Diner, when that is not the case. Examples are shown below

(with red boxes added for emphasis).




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       77.    Defendants’ Carnegie Diner social media posts have even appeared to issue press

releases on behalf of Carnegie Hall. The following image shows a Carnegie Hall promotional

poster which Defendants used in full on Carnegie Diner’s social media account, along with a

caption that is taken almost verbatim from Carnegie Hall’s description of the concert, with the




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addition of “enjoy some culture and then dinner with us after (or before)!” Red boxes have been

added for emphasis.




        78.    Defendants have distributed other social media posts using headshots of

 Carnegie Hall performers, along with Carnegie Hall’s registered “CH” logo (Reg. No.

 6,804,867) and the hashtag “#carnegiehall,” as depicted below (with red boxes added for

 emphasis). The use of such a hashtag attracts consumers searching for and interested in

 Carnegie Hall, and the blatant appropriation of Carnegie Hall’s monogram logo conveys that




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this is an official Carnegie Hall post, partnership, or sponsorship.




       79.     Defendants also have used images of Carnegie Hall’s exterior as part of their

online advertising. And Defendants have connected this imagery to Carnegie Diner social media

posts that read as if they are Carnegie Hall press releases. In the example depicted below (with

red boxes added for emphasis), Carnegie Diner purports to announce Carnegie Hall’s

participation in @NYCGo’s Must See Week promotion. This post also uses the hashtag for

Carnegie Hall twice.




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       80.    Defendants have also geotagged their social media posts so that Carnegie Diner

appears to be located inside Carnegie Hall. For example, the image below shows an official

post by the Carnegie Diner account with its location set as “Carnegie Hall” (with red boxes

added for emphasis).




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       81.     Further, on information and belief, Defendants have specifically targeted Carnegie

Hall’s customers by running promotions and discounts associated with Carnegie Hall’s goods and

services. For example, as the below images show, Defendants have run unauthorized and

unlicensed promotions for Carnegie Hall patrons whereby they receive a 10% discount at Carnegie

Diners by showing their ticket stubs from performances at Carnegie Hall. This is particularly

likely to cause confusion given that Carnegie Hall’s licensees, such as Park Hyatt, have run similar

promotions. Carnegie Diner also has offered pre-fixe pre-show menus for Carnegie Hall patrons,

just like those offered by the Carnegie Hall Weill Café. And Carnegie Diner offered free

champagne to its customers to celebrate the re-opening of Carnegie Hall following the COVID

pandemic. Examples of such marketing promotions are shown below (with red boxes added for

emphasis).




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       82.    On information and belief, Defendant Mr. Antonakopoulos has personally created

and disseminated marketing materials containing the Infringing Marks that are intended to and

likely to cause consumer confusion and association between Defendants’ Carnegie Diners and

Carnegie Hall, such as in the images below that appear on Mr. Antonakopoulos’s personal

Instagram and Facebook pages (with red boxes added for emphasis).




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       83.      On information and belief, consumers have already mistakenly associated Carnegie

Hall with Defendants’ Carnegie Diners. For example, as shown below, a pianist who played at

Carnegie Hall referred to Carnegie Diner as “Carnegie hall diner” on her public Instagram account,

with a photograph that prominently featured the wall mural of the interior of Carnegie Hall.




       84.      Moreover, on information and belief, consumers online have also been confused

and have associated Defendants’ Carnegie Diners with Carnegie Hall. Examples from reviews

include:

       •     “The décor…makes you feel like you are in Carnegie Hall.”

       •     “Great murals on the walls. Named after the famous Carnegie Hall.”

       •     “[B]earing tribute to Carnegie Hall for which it is named”

       •     “Loved the allusion to Carnegie Hall”

       •     “We were seated in their side room with a large picture of Carnegie Hall”




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       •     “[T]he acoustics in the ‘Carnegie Hall’ room were such that it seemed very loud.”


       85.      For example, consumers have attributed the “ambiance” and “atmosphere” of

Defendants’ Carnegie Diners to Carnegie Hall, stating:

       •     “Ambiance was bright and has pictures on the walls of all the famous performers with

             a backdrop of Carnegie Hall.”

       •     “[T]he atmosphere was really nice for a diner, I especially loved the music related

             posters like the blowup of the front and back of Harry Belafonte’s Live from Carnegie

             Hall album.”

       •     “They have fun and unique posters on the wall from events that took place at Carnegie

             hall over the years which was fun to see!”

       •     “Love the posters on the walls of all the great shows that took place in Carnegie Hall

             through the years.”


       86.      In addition to the likely consumer confusion and association caused by Defendants’

extensive efforts to trade on Carnegie Hall’s goodwill and reputation, Defendants’ violative actions

dilute the famous CARNEGIE HALL Marks, including by weakening consumers’ brand

associations of the marks. The dominant element of Defendants’ Infringing Marks is identical to

that of the CARNEGIE HALL Marks, and Defendants intend to create, and have actually created

an association between their Carnegie Diners and Carnegie Hall that is referenced in press

coverage and consumer reviews.

       87.      Furthermore, Carnegie Diners have appeared in some of the same periodicals and

websites in which Carnegie Hall has also appeared, such as The New York Times, Time Out New




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York, Trip Advisor, and nyctourism.com. Such overlap in advertising and channels of trade

exacerbates the likelihood of confusion and dilution.

        88.      Moreover, press coverage for Defendants’ Carnegie Diners consistently references

Carnegie Hall. For example, Eater reported that the Carnegie Diner Virginia location will

“showcase supersized photos of Carnegie Hall’s iconic concert stage and portraits of past

musicians performing at the centuries-old landmark venue.”10 Cititour.com likewise reported that

“[o]ne of the diner’s focal walls is a from-the-stage view of the iconic Carnegie Hall and other

portraits of some of the iconic musicians who have performed at the historic venue over the

years.”11 Multiple articles have also reported that Carnegie Hall is the “namesake” of the various

Carnegie Diners, both in and outside of New York. 12 All of this causes and exacerbates the

likelihood of confusion and dilution of the CARNEGIE HALL Marks.

        89.      Of particular concern is that Defendants use the Carnegie Hall trademarks and

brand without any way for Carnegie Hall to inspect and maintain quality controls for goods and

services sold in connection with its marks. Nor is there any way for Carnegie Hall to control

Defendants, which falsely and misleadingly associate the Carnegie Diners with Carnegie Hall and

the CARNEGIE HALL Marks.                  Defendants’ uncontrolled and unlicensed use also hinders

Carnegie Hall’s ability to further expand and further license its brand. At the same time,

Defendants are clearly profiting off of the CARNEGIE HALL Marks and brand, not only through

Defendants’ sales to consumers but also by their efforts to franchise and license the Infringing




10
   https://dc.eater.com/2024/5/20/24161125/nyc-all-day-carnegie-diner-cafe-dc-vienna-virginia-coming-attractions.
11
   https://cititour.com/NYC_News/Carnegie-Diner-Cafe-Opens-Second-NYC-Location/7436.
12
   https://www.manhattandigest.com/2020/02/25/carnegie-diner-review/; https://www.ffxnow.com/2024/06/03/new-
yorks-carnegie-diner-set-for-grand-opening-in-vienna-this-week/; https://bestofnj.com/features/food/carnegie-diner-
in-secaucus-serves-classics-desserts-more/.


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Marks, all despite Carnegie Hall’s complaints and the growing consumer confusion and

association.

       90.      Defendants’ unauthorized use of the Infringing Marks is likely to create negative

brand associations with Carnegie Hall. For example, in one- and two-star reviews of Carnegie

Diners, consumers have tied their negative experiences to the Infringing Marks, showing how such

experiences can easily then tarnish Carnegie Hall’s trademarks, brand, and reputation.

       •     “Food was meh. Service was terrible. You are paying for the name.”

       •     “Food was not good. Carnegie in name only. Skip this place.”

       •     “Not at all what I thought Carnegie would ever be like…just below average everything.”

       •     “Carnegie himself would be rolling over in his grave, what a dive, everything cold and

             bland… I’d tell the world if I could what a dump.”

       •     “We were really looking forward to our brunch at Carnegie and with that name they

             had a lot to live up to. While the service wasn’t terrible, nearly everything else was.”


       91.      In furtherance of Defendants’ infringement, dilution, and unfair competition, and

despite beginning to provide food and beverage services more than 30 years after Carnegie Hall

did so, Carnegie Hospitality obtained U.S. Registration No. 6,632,349 for CARNEGIE DINER &

CAFÉ in Class 43 for “Restaurant and café services; Restaurant services; Restaurant services,

including sit-down service of food and take-out restaurant services; Restaurant services, namely,

providing of food and beverages for consumption on and off the premises.” Carnegie Hospitality

also recently filed a new trademark application for the logo                      , (U.S. Serial No.

99/040389) in class 43 for “Restaurant and cafe services; Restaurant services; Restaurant services,

including sit-down service of food and take-out restaurant services; Restaurant services, namely,

providing of food and beverages for consumption on and off the premises.”


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       92.     Carnegie Hall has been trying to resolve this matter amicably for years. Defendants’

unauthorized use of the CARNEGIE HALL Marks, however, has only become more rampant since

Carnegie Hall reached out to address Defendants’ willful infringement, dilution, and unfair

competition. As mentioned above, Defendants have opened multiple Carnegie Diners and, on

information and belief, have entered into a franchise agreement and plan to open locations in all

50 states by 2029, with the intent that consumers will associate the Carnegie Diners with Carnegie

Hall. Defendants’ actions are at the expense not only of Carnegie Hall, but importantly of innocent

consumers, such as the ones in the reviews noted above who thought they were getting a Carnegie

Hall-quality experience and then were disappointed.

       93.     Carnegie Hall has had no choice but to bring this lawsuit to prevent Defendants

from further infringing and diluting its famous CARNEGIE HALL Marks, damaging its hard-

earned reputation and goodwill, and confusing and deceiving innocent consumers. Indeed,

Defendants’ brazen attempt to freeride on Carnegie Hall’s brand, and its continued expansion,

makes clear that its infringement, dilution, and unfair competition—which are willful—will not

stop absent a court order.

         FIRST CLAIM FOR RELIEF – AGAINST ALL DEFENDANTS
  INFRINGEMENT OF REGISTERED CARNEGIE HALL MARKS – 15 U.S.C. § 1114

       94.     Carnegie Hall repeats and re-alleges each and every allegation set forth in

paragraphs 1 through 93 as if fully set forth herein.

       95.     Carnegie Hall has prior rights over Defendants in and to the Registered

CARNEGIE HALL Marks in the United States by virtue of the Carnegie Hall Entities’ continuous

use of the CARNEGIE HALL Marks in interstate commerce and as evidenced by the numerous

federal registrations for the Registered CARNEGIE HALL Marks owned by Carnegie Hall,




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including, but not limited to U.S. Reg. Nos. 1,599,952; 1,818,456; 2,358,244; 6,046,767;

7,263,101; 6,804,867; 3,753,335; and 2,707,933.

         96.    The Registered CARNEGIE HALL Marks are valid, subsisting, used in commerce,

inherently distinctive and have acquired distinctiveness. In addition, U.S. Reg. Nos. 1,599,952

and 2,358,244, inter alia, have achieved incontestability.

         97.    Defendants’ Infringing Marks are confusingly similar to the Registered

CARNEGIE HALL Marks, given the similarities between the marks, including, among other

things, the similar and/or identical nature of the marks, the manners in which the marks are used,

the goods and services with which they are used, the target customers of those goods and services,

and the way the services under the marks are marketed, advertised, and promoted, including the

channels of trade in which they appear.

         98.    Defendant Mr. Antonakopoulos actively and knowingly selected the Infringing

Marks, including the infringing merchandise and décor consisting of full-wall murals of the

interior and exterior of Carnegie Hall’s building and other visual indicia associated with Carnegie

Hall for the Carnegie Diners.

         99.    Defendant Mr. Antonakopoulos was, therefore, a moving, conscious force that

caused the infringement to occur.

         100.   Defendant Mr. Antonakopoulos, as owner, principal and/or operator of Carnegie

Hospitality and the Individual-Restaurant LLC Defendants, caused the infringement as a whole to

occur.

         101.   Carnegie Hospitality and the Individual-Restaurant LLC Defendants own, manage,

and/or operate the Carnegie Diners, which employ the Infringing Marks. Carnegie Hospitality and




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the Individual-Restaurant LLC Defendants, therefore, including by and through Mr.

Antonakopoulos, caused the infringement to occur.

         102.   Carnegie Hospitality purports to own the Infringing Marks, including U.S.

Registration No. 6,632,349 and U.S. Serial No. 99/040389.

         103.   Defendants’ use of the Infringing Marks in connection with Carnegie Diners is

likely to make consumers mistakenly believe there is a connection, sponsorship, or association

between Defendants’ Carnegie Diners and Carnegie Hall, and/or that the Carnegie Diners are

owned, operated, sponsored by, endorsed by, or affiliated with, Carnegie Hall when that is not the

case.

         104.   Consumers have already been led to mistakenly believe there is a connection,

sponsorship, or association between Defendants’ Carnegie Diners and Carnegie Hall, and/or that

the Carnegie Diners are owned, operated, sponsored or endorsed by, or affiliated with, Carnegie

Hall.

         105.   As a result of this confusion, Carnegie Hall has suffered substantial harm and

damages, including to the value of its Registered CARNEGIE HALL Marks, its reputation and

goodwill, and is likely to suffer additional harm and damages.

         106.   Defendants had actual and constructive notice of the Registered CARNEGIE

HALL Marks before they selected, adopted, and used the Infringing Marks.

         107.   Defendants knew, or should have known, that their unauthorized use of the

Infringing Marks was likely to cause confusion or mistake as to Carnegie Hall’s ownership,

sponsorship or endorsement of, association or affiliation with Defendants’ Carnegie Diner and

related goods and services.

         108.   Defendants’ unauthorized use of the Infringing Marks was willful.




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       109.    Defendants’ use of the Infringing Marks, unless enjoined by this Court, will further

impair the value of Carnegie Hall’s Registered CARNEGIE HALL Marks, reputation, and

goodwill. This harm constitutes an injury for which Carnegie Hall has no adequate remedy at law.

       110.    Defendants’ use of the Infringing Marks constitutes infringement of the Registered

CARNEGIE HALL Marks in violation of Section 32 of the Lanham Act, 15 U.S.C. § 1114.

       111.    By reason of the foregoing, Carnegie Hall is entitled to permanent injunctive relief

against Defendants, and for all remedies available to it under 15 U.S.C. § 1117, including monetary

damages, an accounting and disgorgement of Defendants’ profits, Carnegie Hall’s reasonable

attorneys’ fees and costs, and prejudgment interest, among other remedies as outlined below and

any others ordered by the Court.

         SECOND CLAIM FOR RELIEF – AGAINST ALL DEFENDANTS
    FALSE DESIGNATION OF ORIGIN AS TO THE CARNEGIE HALL MARKS –
                          15 U.S.C. § 1125(A)

       112.    Carnegie Hall repeats and re-alleges each and every allegation set forth in

paragraphs 1 through 111 as if fully set forth herein.

       113.    The CARNEGIE HALL Marks are protected as common law trademarks by virtue

of the Carnegie Hall Entities’ longtime, continuous use of such marks in the marketplace.

       114.    The CARNEGIE HALL Marks are valid, subsisting, used in commerce, inherently

distinctive and have acquired distinctiveness.        In addition, U.S. Reg. Nos. 1,599,952 and

2,358,244, inter alia, have achieved incontestability.

       115.    As discussed above, Defendants have promoted, distributed, and used in commerce

the Infringing Marks without Carnegie Hall’s authorization.

       116.    Defendant Mr. Antonakopoulos actively and knowingly selected the Infringing

Marks, including the infringing merchandise and décor consisting of full-wall murals of the




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interior and exterior of Carnegie Hall’s building and other visual indicia associated with Carnegie

Hall for the Carnegie Diners.

         117.   Defendant Mr. Antonakopoulos was, therefore, a moving, conscious force that

caused the infringement to occur.

         118.   Defendant Mr. Antonakopoulos, as owner, principal and/or operator of Carnegie

Hospitality and the Individual-Restaurant LLC Defendants, caused the infringement as a whole to

occur.

         119.   Carnegie Hospitality and the Individual-Restaurant LLC Defendants own, manage,

and/or operate the Carnegie Diners, which employ the Infringing Marks. Carnegie Hospitality and

the Individual-Restaurant LLC Defendants, therefore, including by and through Mr.

Antonakopoulos, caused the infringement to occur.

         120.   Carnegie Hospitality purports to own the Infringing Marks, including U.S.

Registration No. 6,632,349 and U.S. Serial No. 99/040389.

         121.   Defendants’ use of the Infringing Marks in connection with Carnegie Diner is likely

to make consumers mistakenly believe there is a connection, sponsorship, or association between

Defendants’ Carnegie Diners and Carnegie Hall, and/or that the Carnegie Diners are owned,

operated, sponsored or endorsed by, or affiliated with, Carnegie Hall when that is not the case.

         122.   Defendants’ unauthorized use of the Infringing Marks in connection with the

Carnegie Diners is likely to cause confusion or mistake as to the source of Defendants’ goods and

services, because it falsely suggests that the Carnegie Diners and their goods and services are

provided by, connected with, sponsored or endorsed by, affiliated with, or related to, Carnegie

Hall.




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       123.    Defendants had actual and constructive notice of the CARNEGIE HALL Marks

before they selected, adopted, and used the Infringing Marks.

       124.    Defendants knew, or should have known, that their unauthorized use of the

Infringing Marks in connection with the Carnegie Diners would cause confusion or mistake as to

the source of Defendants’ goods and services.

       125.    Defendants’ unauthorized use of the Infringing Marks was willful.

       126.    Consumers have already been led to mistakenly believe there is a connection,

sponsorship, endorsement, or association between Defendants’ Carnegie Diners and Carnegie

Hall, and/or that the Carnegie Diners are owned, operated, sponsored or endorsed by, or affiliated

with, Carnegie Hall.

       127.    As a result of this confusion, Carnegie Hall has suffered substantial harm and

damages, including to the value of its CARNEGIE HALL Marks, its reputation and goodwill, and

is likely to suffer additional harm and damages.

       128.    Defendants’ conduct has substantially harmed and damaged Carnegie Hall and,

unless enjoined by the Court, will further impair the value of Carnegie Hall’s CARNEGIE HALL

Marks, reputation, and goodwill. This harm constitutes an injury for which Carnegie Hall has no

adequate remedy at law.

       129.    Defendants’ use of the Infringing Marks constitutes false designation of origin in

violation of 15 U.S.C. § 1125(a).

       130.    By reason of the foregoing, Carnegie Hall is entitled to permanent injunctive relief

against Defendants, and for all remedies available to it under 15 U.S.C. § 1117, including monetary

damages, an accounting and disgorgement of Defendants’ profits, Carnegie Hall’s reasonable




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attorneys’ fees and costs, and prejudgment interest, among other remedies as outlined below and

any others ordered by the Court.

THIRD CLAIM FOR RELIEF – AGAINST CARNEGIE HOSPITALITY, EFSTATHIOS
    ANTONAKOPOULOS, CARNEGIE DINER 57, AND CARNEGIE DINER 828
        UNFAIR COMPETITION UNDER NEW YORK COMMON LAW

       131.    Carnegie Hall repeats and re-alleges each and every allegation set forth in

paragraphs 1 through 130 as if fully set forth herein.

       132.    Carnegie Hall has prior rights over Carnegie Hospitality, Mr. Antonakopoulos,

Carnegie Diner 57, and Carnegie Diner 828 in and to the Registered CARNEGIE HALL Marks in

the United States (including New York) by virtue of the Carnegie Hall Entities’ continuous use of

the CARNEGIE HALL Marks in interstate commerce and as evidenced by the numerous federal

registrations for the Registered CARNEGIE HALL Marks owned by Carnegie Hall, including, but

not limited to U.S. Reg. Nos. 1,599,952; 1,818,456; 2,358,244; 6,046,767; 7,263,101; 6,804,867;

3,753,335; and 2,707,933.

       133.    The CARNEGIE HALL Marks are valid, subsisting, used in commerce, inherently

distinctive and have acquired distinctiveness.        In addition, U.S. Reg. Nos. 1,599,952 and

2,358,244, inter alia, have achieved incontestability.

       134.    Carnegie Hall has prior rights over Carnegie Hospitality, Mr. Antonakopoulos,

Carnegie Diner 57, and Carnegie Diner 828 in and to the CARNEGIE HALL Marks in the state

of New York by virtue of the Carnegie Hall Entities’ use of the CARNEGIE HALL Marks in the

state of New York and as evidenced by the numerous federal registrations for the Registered

CARNEGIE HALL Marks owned by Carnegie Hall.

       135.    Carnegie Hall has made significant expenditures, both financial and through the

skill and labor of its employees, to promote its brand as embodied in the CARNEGIE HALL Marks

and imagery associated with its performance venue and has developed significant goodwill therein.


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       136.    As discussed above, Carnegie Hospitality, Mr. Antonakopoulos, Carnegie Diner

57, and Carnegie Diner 828 have promoted, distributed, and used in commerce the Infringing

Marks without Carnegie Hall’s authorization.

       137.    Carnegie Hospitality, Mr. Antonakopoulos, Carnegie Diner 57, and Carnegie Diner

828 have built their Carnegie Diner business by misappropriating the storied reputation and

goodwill built through the Carnegie Hall Entities’ skill, expenditures, and labors.

       138.    Defendant Mr. Antonakopoulos actively and knowingly selected the Infringing

Marks, including the infringing merchandise, décor consisting of full-wall murals of the interior

and exterior of Carnegie Hall’s building and other visual indicia associated with Carnegie Hall for

the Carnegie Diners.

       139.    Defendant Mr. Antonakopoulos was, therefore, a moving, conscious force that

caused the infringement and misappropriation to occur.

       140.    Defendant Mr. Antonakopoulos, as owner, principal, and operator of Carnegie

Hospitality, Carnegie Diner 57, and Carnegie Diner 828, caused the infringement and

misappropriation as a whole to occur.

       141.    Carnegie Hospitality, Carnegie Diner 57, and Carnegie Diner 828 own, manage,

and/or operate the Carnegie Diners located in New York, which employ the Infringing Marks.

Carnegie Hospitality, Carnegie Diner 57, and Carnegie Diner 828 therefore, including by and

through Mr. Antonakopoulos, caused the infringement to occur.

       142.    Carnegie Hospitality purports to own the Infringing Marks, including U.S.

Registration No. 6,632,349 and U.S. Serial No. 99/040389.

       143.    Carnegie Hospitality, Mr. Antonakopoulos, Carnegie Diner 57, and Carnegie Diner

828’s unauthorized use of the CARNEGIE HALL Marks, imagery, brand, and reputation in




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connection with their Carnegie Diners is likely to cause confusion or mistake as to the source of

their goods and services, because it falsely suggests that the Carnegie Diners are provided by,

connected with, sponsored by, endorsed by, affiliated with, or related to, Carnegie Hall.

       144.    Carnegie Hospitality, Mr. Antonakopoulos, Carnegie Diner 57, and Carnegie Diner

828 had actual and constructive notice of the CARNEGIE HALL Marks before they selected,

adopted, and used the Infringing Marks.

       145.    Carnegie Hospitality, Mr. Antonakopoulos, Carnegie Diner 57, and Carnegie Diner

828 knew, or should have known, that their unauthorized use of the Infringing Marks was likely

to cause confusion or mistake as to Carnegie Hall’s sponsorship of, association with, or affiliation

with Carnegie Hospitality, Mr. Antonakopoulos, Carnegie Diner 57, and Carnegie Diner 828’s

Carnegie Diners and related goods and services. Carnegie Hospitality, Mr. Antonakopoulos,

Carnegie Diner 57, and Carnegie Diner 828 knew, or should have known, that their unauthorized

use of the Infringing Marks in connection with Carnegie Diners would cause confusion or mistake

as to the source of their goods and services.

       146.    Carnegie Hospitality, Mr. Antonakopoulos, Carnegie Diner 57, and Carnegie Diner

828’s unauthorized use of the Infringing Marks was willful.

       147.    Carnegie Hospitality, Mr. Antonakopoulos, Carnegie Diner 57, and Carnegie Diner

828’s unauthorized use of the Infringing Marks has caused Carnegie Hall substantial harm and

damages, including lost sales and harm to the value of its CARNEGIE HALL Marks, its reputation

and goodwill, and Carnegie Hall is likely to suffer additional harm and damages. This confusion

has also caused Carnegie Hospitality, Mr. Antonakopoulos, Carnegie Diner 57, and Carnegie

Diner 828 to profit from their misappropriation and unauthorized use of the CARNEGIE HALL

Marks, imagery, brand, and reputation.




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       148.    Carnegie Hospitality, Mr. Antonakopoulos, Carnegie Diner 57, and Carnegie Diner

828’s unauthorized use of the Infringing Marks, unless enjoined by this Court, will further impair

the value of Carnegie Hall’s CARNEGIE HALL Marks, reputation, and goodwill. This harm

constitutes an injury for which Carnegie Hall has no adequate remedy at law.

       149.    Carnegie Hospitality, Mr. Antonakopoulos, Carnegie Diner 57, and Carnegie Diner

828’s unauthorized use of the Infringing Marks constitutes common law unfair competition under

New York law.

       150.    By reason of the foregoing, Carnegie Hall is entitled to permanent injunctive relief,

recovery of any damages proven to have been caused by reason of their aforesaid acts, as well as

punitive damages and nominal damages, among other remedies as outlined below and any others

ordered by the Court.

       FOURTH CLAIM FOR RELIEF – AGAINST CARNEGIE HOSPITALITY,
      EFSTATHIOS ANTONAKOPOULOS, AND CARNEGIE DINER SECAUCUS
         UNFAIR COMPETITION UNDER NEW JERSEY STATUTE § 56:4-1

       151.    Carnegie Hall repeats and re-alleges each and every allegation set forth in

paragraphs 1 through 150 as if fully set forth herein.

       152.    Carnegie Hall has prior rights over Carnegie Hospitality, Mr. Antonakopoulos, and

Carnegie Diner Secaucus in and to the CARNEGIE HALL Marks in the United States (including

New Jersey) by virtue of the Carnegie Hall Entities’ continuous use of the CARNEGIE HALL

Marks in interstate commerce and as evidenced by the numerous federal registrations for the

Registered CARNEGIE HALL Marks owned by Carnegie Hall, including, but not limited to U.S.

Reg. Nos. 1,599,952; 1,818,456; 2,358,244; 6,046,767; 7,263,101; 6,804,867; 3,753,335; and

2,707,933.




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       153.    The Registered CARNEGIE HALL Marks are valid, subsisting, used in commerce,

inherently distinctive and have acquired distinctiveness. In addition, U.S. Reg. Nos. 1,599,952

and 2,358,244, inter alia, have achieved incontestability.

       154.    Carnegie Hall has prior rights over Carnegie Hospitality, Mr. Antonakopoulos, and

Carnegie Diner Secaucus in and to the CARNEGIE HALL Marks in the state of New Jersey by

virtue of its use of the CARNEGIE HALL Marks in the state of New Jersey, its use of the

CARNEGIE HALL Marks as a name, brand, and trademark and as evidenced by the numerous

federal registrations for the Registered CARNEGIE HALL Marks owned by Carnegie Hall.

       155.    Carnegie Hall’s use of the CARNEGIE HALL Marks in New Jersey includes but

is not limited to online ticket sales and online sales of CARNEGIE HALL-branded merchandise

to consumers in New Jersey, as well as performances available via video-on-demand, streaming

and downloadable podcasts, and streaming educational content available to consumers in New

Jersey. Carnegie Hall also provides restaurant services, food and beverages to New Jersey

residents visiting Carnegie Hall’s performance venue.

       156.    Carnegie Hall has made significant expenditures, both financial and through the

skill and labor of its employees, to promote its brand as embodied in the CARNEGIE HALL Marks

and imagery associated with its performance venue and has developed a strong reputation and

significant goodwill therein.

       157.    As discussed above, Carnegie Hospitality, Mr. Antonakopoulos, and Carnegie

Diner Secaucus have promoted, distributed, and used in commerce the Infringing Marks without

Carnegie Hall’s authorization.




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       158.    Carnegie Hospitality, Mr. Antonakopoulos, and Carnegie Diner Secaucus have

built their Carnegie Diner business by misappropriating the storied reputation and goodwill built

through Carnegie Hall’s skill, expenditures, and labors.

       159.    Defendant Mr. Antonakopoulos actively and knowingly selected the Infringing

Marks, including the infringing merchandise, décor consisting of full-wall murals of the interior

and exterior of Carnegie Hall’s building and other visual indicia associated with Carnegie Hall for

the Carnegie Diners.

       160.    Defendant Mr. Antonakopoulos was, therefore, a moving, conscious force that

caused the infringement and misappropriation to occur.

       161.    Defendant Mr. Antonakopoulos, as owner, principal and/or operator of Carnegie

Hospitality and Carnegie Diner Secaucus, caused the infringement and misappropriation as a

whole to occur.

       162.    Carnegie Hospitality and Carnegie Diner Secaucus own, manage, and/or operate

the Carnegie Diner location in New Jersey, which employs the Infringing Marks. Carnegie

Hospitality and Carnegie Diner Secaucus, therefore, including by and through Mr.

Antonakopoulos, caused the infringement to occur.

       163.    Carnegie Hospitality purports to own the Infringing Marks, including U.S.

Registration No. 6,632,349 and U.S. Serial No. 99/040389.

       164.    Carnegie Hospitality, Mr. Antonakopoulos, and Carnegie Diner Secaucus’s

unauthorized appropriation of the CARNEGIE HALL Marks, including its imagery, brand, trade

name, and reputation in connection with Defendants’ Carnegie Diners for use in connection with

food and beverage services and merchandise, is likely to cause confusion or mistake as to the




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source of their goods and services, because it falsely suggests that the Carnegie Diners are provided

by, connected with, sponsored by, endorsed by, affiliated with, or related to, Carnegie Hall.

       165.    Carnegie Hospitality, Mr. Antonakopoulos, and Carnegie Diner Secaucus knew, or

should have known, that their unauthorized use of the Infringing Marks was likely to cause

confusion or mistake as to Carnegie Hall’s sponsorship of, endorsement of, association with, or

affiliation with Carnegie Hospitality, Mr. Antonakopoulos, and Carnegie Diner Secaucus’s

Carnegie Diner and related goods and services.

       166.    Carnegie Hospitality, Mr. Antonakopoulos, and Carnegie Diner Secaucus had

actual and constructive notice of the Registered CARNEGIE HALL Marks before they selected,

adopted, and used the Infringing Marks.

       167.    Carnegie Hospitality, Mr. Antonakopoulos, and Carnegie Diner Secaucus knew, or

should have known, that their unauthorized use of the Infringing Marks in connection with

Carnegie Diner would cause confusion or mistake as to the source of their goods and services.

       168.    Carnegie Hospitality, Mr. Antonakopoulos, and Carnegie Diner Secaucus’s

unauthorized use of the Infringing Marks was willful.

       169.    Carnegie Hospitality, Mr. Antonakopoulos, and Carnegie Diner Secaucus’s

unauthorized use of the Infringing Marks has caused Carnegie Hall substantial harm and damages,

including to the value of its CARNEGIE HALL Marks, its reputation and goodwill, and Carnegie

Hall is likely to suffer additional harm and damages. This confusion has also caused Carnegie

Hospitality, Mr. Antonakopoulos, and Carnegie Diner Secaucus to profit from their

misappropriation and unauthorized use of the CARNEGIE HALL Marks, imagery, brand, and

reputation.




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          170.   Carnegie Hospitality, Mr. Antonakopoulos, and Carnegie Diner Secaucus’s

unauthorized use of the Infringing Marks, unless enjoined by this court, will further impair the

value of Carnegie Hall’s CARNEGIE HALL Marks, reputation, and goodwill.                   This harm

constitutes an injury for which Carnegie Hall has no adequate remedy at law.

          171.   Carnegie Hospitality, Mr. Antonakopoulos, and Carnegie Diner Secaucus’s

unauthorized use of the Infringing Marks constitutes unfair competition under New Jersey Stat. §

56:4-1.

          172.   By reason of the foregoing, Carnegie Hall is entitled to permanent injunctive relief,

recovery of any damages proven to have been caused directly or indirectly by reason of their

aforesaid acts, trebled in accordance with N.J. Stat. § 56:4-2, among other remedies as outlined

below and any others ordered by the Court.

 FIFTH CLAIM FOR RELIEF - AGAINST CARNEGIE HOSPITALITY, EFSTATHIOS
          ANTONAKOPOULOS, AND CARNEGIE DINER SECAUCUS
    TRAFFICKING OR ATTEMPTING TO TRAFFIC IN COUNTERFEIT MARKS
                UNDER NEW JERSEY STATUTE § 56:3-13.16

          173.   Carnegie Hall repeats and re-alleges each and every allegation set forth in

paragraphs 1 through 172 as if fully set forth herein.

          174.   Carnegie Hall has prior rights over Carnegie Hospitality, Mr. Antonakopoulos, and

Carnegie Diner Secaucus in and to the CARNEGIE HALL Marks in the United States (including

New Jersey) by virtue of the Carnegie Hall Entities’ continuous use of the CARNEGIE HALL

Marks in interstate commerce and as evidenced by the numerous federal registrations for the

Registered CARNEGIE HALL Marks owned by Carnegie Hall, including, but not limited to U.S.

Reg. Nos. 1,599,952; 1,818,456; 2,358,244; 6,046,767; 7,263,101; 6,804,867; 3,753,335; and

2,707,933.




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       175.    The CARNEGIE HALL Marks are valid, subsisting, used in commerce, inherently

distinctive and have acquired distinctiveness.       In addition, U.S. Reg. Nos. 1,599,952 and

2,358,244, inter alia, have achieved incontestability.

       176.    Carnegie Hall has prior rights over Carnegie Hospitality, Mr. Antonakopoulos, and

Carnegie Diner Secaucus in and to the CARNEGIE HALL Marks in the state of New Jersey by

virtue of its use of the CARNEGIE HALL Marks in the state of New Jersey, including but not

limited to online sale of merchandise to consumers in New Jersey, and as evidenced by the

numerous federal registrations for the Registered CARNEGIE HALL Marks owned by Carnegie

Hall. Carnegie Hall also provides restaurant services, food and beverages to New Jersey residents

visiting Carnegie Hall’s performance venue.

       177.    Carnegie Hall has made significant expenditures, both financial and through the

skill and labor of its employees, to promote its brand as embodied in the CARNEGIE HALL Marks

and imagery associated with its performance venue and has developed significant goodwill therein.

       178.    As discussed above, Carnegie Hospitality, Mr. Antonakopoulos, and Carnegie

Diner Secaucus have promoted, distributed, and used in commerce the Infringing Marks without

Carnegie Hall’s authorization within the state of New Jersey.

       179.    Carnegie Hospitality, Mr. Antonakopoulos, and Carnegie Diner Secaucus’s

Infringing Marks are a colorable imitation of the CARNEGIE HALL Marks. Carnegie Hospitality,

Mr. Antonakopoulos, and Carnegie Diner Secaucus use the Infringing Marks in connection with

their goods and services in New Jersey, namely the Secaucus, New Jersey, Carnegie Diner location

and the sale of infringing merchandise in the state of New Jersey.

       180.    Carnegie Hospitality, Mr. Antonakopoulos, and Carnegie Diner Secaucus have

built their Carnegie Diner business through the use of the Infringing Marks. Carnegie Hospitality,




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Mr. Antonakopoulos, and Carnegie Diner Secaucus utilize a CARNEGIE-dominant trade name

and applied reproductions, copies, or colorable imitations of Carnegie Hall’s building exterior and

the interior of its Stern Auditorium / Perelman Stage to the walls of the Carnegie Diner located in

the state of New Jersey, among other facts of infringement and unfair competition discussed above.

         181.   Carnegie Hospitality, Mr. Antonakopoulos, and Carnegie Diner Secaucus use these

reproductions, copies, or colorable imitations of images of Carnegie Hall to advertise their goods

and services in New Jersey and throughout the United States, including, but not limited to via

social media.

         182.   Defendant Mr. Antonakopoulos actively and knowingly selected the Infringing

Marks, including the infringing merchandise, décor consisting of full-wall murals of the interior

and exterior of Carnegie Hall’s building and other visual indicia associated with Carnegie Hall for

the Carnegie Diners.

         183.   Defendant Mr. Antonakopoulos was, therefore, a moving, conscious force that

caused the infringement to occur and reproductions, copies, or colorable imitations to be made and

used in connection with the Carnegie Diners.

         184.   Defendant Mr. Antonakopoulos, as owner, principal and/or operator of Carnegie

Hospitality and Carnegie Diner Secaucus, caused the infringement as a whole to occur and

reproductions, copies, or colorable imitations to be made and used in connection with Carnegie

Diner.

         185.   Carnegie Hospitality and Carnegie Diner Secaucus own, manage, and/or operate

the Carnegie Diner in New Jersey, which employs the Infringing Marks. Carnegie Hospitality and

Carnegie Diner Secaucus, therefore, including by and through Mr. Antonakopoulos, caused the

infringement to occur.




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       186.    Carnegie Hospitality purports to own the Infringing Marks, including U.S.

Registration No. 6,632,349 and U.S. Serial No. 99/040389.

       187.    Carnegie Hospitality, Mr. Antonakopoulos, and Carnegie Diner Secaucus’s

unauthorized use of the Infringing Marks, including reproductions, copies, and colorable

imitations of its name and imagery in connection with the Carnegie Diners is likely to cause

confusion or mistake as to the source of their goods and services, because it falsely suggests that

Carnegie Hall is the source of Carnegie Hospitality, Mr. Antonakopoulos, and Carnegie Diner

Secaucus’s goods and services.

       188.    Carnegie Hospitality, Mr. Antonakopoulos, and Carnegie Diner Secaucus had

actual and constructive notice of the CARNEGIE HALL Marks before they selected, adopted, and

used the Infringing Marks.

       189.    Carnegie Hospitality, Mr. Antonakopoulos, and Carnegie Diner Secaucus knew, or

should have known, that their unauthorized use of the Infringing Marks was likely to cause

confusion or mistake as to Carnegie Hall’s sponsorship of, association with, or affiliation with

Carnegie Hospitality, Mr. Antonakopoulos, and Carnegie Diner Secaucus’s Carnegie Diners and

related goods and services.

       190.    Carnegie Hospitality, Mr. Antonakopoulos, and Carnegie Diner Secaucus’s

selection and unauthorized use of the Infringing Marks was willful.

       191.    Carnegie Hospitality, Mr. Antonakopoulos, and Carnegie Diner Secaucus’s

unauthorized use of the Infringing Marks has caused Carnegie Hall substantial harm and damages,

including to the value of its CARNEGIE HALL Marks, its reputation and goodwill, and Carnegie

Hall is likely to suffer additional harm and damages. This confusion has also caused Carnegie




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Hospitality, Mr. Antonakopoulos, and Carnegie Diner Secaucus to profit from its misappropriation

and unauthorized use of the CARNEGIE HALL Marks, imagery, brand, and reputation.

       192.    Carnegie Hospitality, Mr. Antonakopoulos, and Carnegie Diner Secaucus’s

unauthorized use of the Infringing Marks, unless enjoined by this Court, will further impair the

value of Carnegie Hall’s CARNEGIE HALL Marks, reputation, and goodwill.                This harm

constitutes an injury for which Carnegie Hall has no adequate remedy at law.

       193.    Carnegie Hospitality, Mr. Antonakopoulos, and Carnegie Diner Secaucus’s

unauthorized use of the Infringing Marks constitutes trafficking in counterfeit marks under N.J.

Stat. § 56:3-13.16.

       194.    By reason of the foregoing, Carnegie Hall is entitled to permanent injunctive relief

against Carnegie Hospitality, Mr. Antonakopoulos, and Carnegie Diner Secaucus, and for all

remedies available to it under 15 U.S.C. § 1117 as incorporated by reference in N.J. Stat. § 56:3-

13.16, including monetary damages, an accounting and disgorgement of Carnegie Hospitality, Mr.

Antonakopoulos, and Carnegie Diner Secaucus’s profits, destruction of all materials including the

Infringing Marks, including but not limited to merchandise, signage, and advertising and

marketing materials, Carnegie Hall’s reasonable attorneys’ fees and costs, and prejudgment

interest, among other remedies as outlined below and any others awarded by this Court.

SIXTH CLAIM FOR RELIEF - AGAINST CARNEGIE HOSPITALITY, EFSTATHIOS
         ANTONAKOPOULOS, AND CARNEGIE DINER SECAUCUS
    TRADEMARK INFRINGEMENT UNDER NEW JERSEY COMMON LAW

       195.    Carnegie Hall repeats and re-alleges each and every allegation set forth in

paragraphs 1 through 194 as if fully set forth herein.

       196.    Carnegie Hall has prior rights over Carnegie Hospitality, Mr. Antonakopoulos, and

Carnegie Diner Secaucus in and to the CARNEGIE HALL Marks in the United States (including

New Jersey) by virtue of the Carnegie Hall Entities’ continuous use of the CARNEGIE HALL


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Marks in interstate commerce and as evidenced by the numerous federal registrations for the

Registered CARNEGIE HALL Marks owned by Carnegie Hall, including, but not limited to U.S.

Reg. Nos. 1,599,952; 1,818,456; 2,358,244; 6,046,767; 7,263,101; 6,804,867; 3,753,335; and

2,707,933.

       197.    The CARNEGIE HALL Marks are valid, subsisting, used in commerce, inherently

distinctive and have acquired distinctiveness.         In addition, U.S. Reg. Nos. 1,599,952 and

2,358,244, inter alia, have achieved incontestability.

       198.    Carnegie Hall has prior rights over Carnegie Hospitality, Mr. Antonakopoulos, and

Carnegie Diner Secaucus in and to the CARNEGIE HALL Marks in the state of New Jersey by

virtue of its use of the CARNEGIE HALL Marks in the state of New Jersey and as evidenced by

the numerous federal registrations for the Registered CARNEGIE HALL Marks owned by

Carnegie Hall. Carnegie Hall’s use in New Jersey includes but is not limited to online ticket sales

and online sales of CARNEGIE HALL-branded merchandise to consumers in New Jersey, as well

as performances available via video-on-demand, streaming and downloadable podcasts, and

streaming educational content available to consumers in New Jersey. Carnegie Hall also provides

restaurant services, food and beverages to New Jersey residents visiting Carnegie Hall’s

performance venue.

       199.    Carnegie Hall has made significant expenditures, both financial and through the

skill and labor of its employees, to promote its brand as embodied in the CARNEGIE HALL Marks

and has developed significant goodwill therein.

       200.    As discussed above, Carnegie Hospitality, Mr. Antonakopoulos, and Carnegie

Diner Secaucus have promoted, distributed, and used in commerce the Infringing Marks without

Carnegie Hall’s authorization within the state of New Jersey.




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       201.    Defendant Mr. Antonakopoulos actively and knowingly selected the Infringing

Marks, including the infringing merchandise, décor consisting of full-wall murals of the interior

and exterior of Carnegie Hall’s building and other visual indicia associated with Carnegie Hall for

the Carnegie Diners.

       202.    Defendant Mr. Antonakopoulos was, therefore, a moving, conscious force that

caused the infringement to occur.

       203.    Defendant Mr. Antonakopoulos, as owner, principal and/or operator of Carnegie

Hospitality and Carnegie Diner Secaucus, caused the infringement as a whole to occur.

       204.    Carnegie Hospitality and Carnegie Diner Secaucus own, manage, and/or operate

the Carnegie Diner in New Jersey, which employs the Infringing Marks. Carnegie Hospitality and

Carnegie Diner Secaucus, therefore, including by and through Mr. Antonakopoulos, caused the

infringement to occur.

       205.    Carnegie Hospitality purports to own the Infringing Marks, including U.S.

Registration No. 6,632,349 and U.S. Serial No. 99/040389.

       206.    Carnegie Hospitality, Mr. Antonakopoulos, and Carnegie Diner Secaucus’s use of

the Infringing Marks in connection with the Carnegie Diners suggests that their goods and services,

including, but not limited to food and beverage services and the sale of merchandise bearing the

Infringing Marks, come from the same source as Carnegie Hall’s goods and services, or are

otherwise affiliated with, sponsored by, or endorsed by Carnegie Hall. Such suggestions are false,

confusing, and misleading to New Jersey consumers, and material to consumers’ purchasing

decisions.

       207.    Carnegie Hospitality, Mr. Antonakopoulos, and Carnegie Diner Secaucus’s

unauthorized use of the Infringing Marks in connection with the Carnegie Diners is likely to cause




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confusion or mistake as to the source of their goods and services, because it falsely suggests that

the Carnegie Diners and their goods and services are provided by, connected with, sponsored or

endorsed by, affiliated with, or related to, Carnegie Hall.           Carnegie Hospitality, Mr.

Antonakopoulos, and Carnegie Diner Secaucus had actual and constructive notice of the

CARNEGIE HALL Marks before they selected, adopted, and used the Infringing Marks.

         208.   Carnegie Hospitality, Mr. Antonakopoulos, and Carnegie Diner Secaucus knew, or

should have known, that their unauthorized use of the Infringing Marks was likely to cause

confusion or mistake as to Carnegie Hall’s sponsorship of, association with, or affiliation with

Carnegie Hospitality, Mr. Antonakopoulos, and Carnegie Diner Secaucus’s Carnegie Diners and

related goods and services.

         209.   Carnegie Hospitality, Mr. Antonakopoulos, and Carnegie Diner Secaucus’s

unauthorized use of the Infringing Marks was willful.

         210.   Consumers in the state of New Jersey have already been led to mistakenly believe

there is a connection, sponsorship, endorsement, or association between Carnegie Hospitality, Mr.

Antonakopoulos, and Carnegie Diner Secaucus’s Carnegie Diner and Carnegie Hall, and/or that

the Carnegie Diners are owned, operated, sponsored or endorsed by, or affiliated with, Carnegie

Hall.

         211.   Carnegie Hospitality, Mr. Antonakopoulos, and Carnegie Diner Secaucus’s

unauthorized use of the Infringing Marks has caused Carnegie Hall substantial harm and damages,

including to the value of its CARNEGIE HALL Marks, its reputation and goodwill, and Carnegie

Hall is likely to suffer additional harm and damages. This confusion has also caused Carnegie

Hospitality, Mr. Antonakopoulos, and Carnegie Diner Secaucus to profit from its misappropriation

and unauthorized use of the CARNEGIE HALL Marks, imagery, brand, and reputation.




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       212.      Carnegie Hospitality, Mr. Antonakopoulos, and Carnegie Diner Secaucus’s

unauthorized use of the Infringing Marks, unless enjoined by this Court, will further impair the

value of Carnegie Hall’s CARNEGIE HALL Marks, reputation, and goodwill.                   This harm

constitutes an injury for which Carnegie Hall has no adequate remedy at law.

       213.      Carnegie Hospitality, Mr. Antonakopoulos, and Carnegie Diner Secaucus’s

unauthorized use of the Infringing Marks constitutes common law trademark infringement under

New Jersey law.

       214.      By reason of the foregoing, Carnegie Hall is entitled to permanent injunctive relief,

recovery of any damages proven to have been caused by reason of their aforesaid acts, Carnegie

Hospitality, Mr. Antonakopoulos, and Carnegie Diner Secaucus’s profits, as well as to punitive

damages and nominal damages, among other remedies as outlined below and any others awarded

by this Court.

       SEVENTH CLAIM FOR RELIEF - AGAINST CARNEGIE HOSPITALITY,
      EFSTATHIOS ANTONAKOPOULOS, AND CARNEGIE DINER SECAUCUS
          UNFAIR COMPETITION UNDER NEW JERSEY COMMON LAW

       215.      Carnegie Hall repeats and re-alleges each and every allegation set forth in

paragraphs 1 through 214 as if fully set forth herein.

       216.      Carnegie Hall has prior rights over Carnegie Hospitality, Mr. Antonakopoulos, and

Carnegie Diner Secaucus in and to the CARNEGIE HALL Marks in the United States (including

New Jersey) by virtue of the Carnegie Hall Entities’ continuous use of the CARNEGIE HALL

Marks in interstate commerce and as evidenced by the numerous federal registrations for the

Registered CARNEGIE HALL Marks owned by Carnegie Hall, including, but not limited to U.S.

Reg. Nos. 1,599,952; 1,818,456; 2,358,244; 6,046,767; 7,263,101; 6,804,867; 3,753,335; and

2,707,933.




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       217.    The CARNEGIE HALL Marks are valid, subsisting, used in commerce, non-

functional, inherently distinctive and have acquired distinctiveness. In addition, U.S. Reg. Nos.

1,599,952 and 2,358,244, inter alia, have achieved incontestability.

       218.    Carnegie Hall has prior rights over Carnegie Hospitality, Mr. Antonakopoulos, and

Carnegie Diner Secaucus in and to the CARNEGIE HALL Marks in the state of New Jersey by

virtue of its use of the CARNEGIE HALL Marks in the state of New Jersey, its use of Carnegie

Hall as a name, brand, and trademark, and as evidenced by the numerous federal registrations for

the Registered CARNEGIE HALL Marks owned by Carnegie Hall.

       219.    Carnegie Hall has made significant expenditures, both financial and through the

skill and labor of its employees, to promote its brand as embodied in the CARNEGIE HALL Marks

and imagery associated with its performance venue and develop a strong reputation and significant

goodwill therein.

       220.    Carnegie Hall provides its services to consumers in New Jersey via online sales and

streaming and downloadable audio and video content. These goods and services include, but are

not limited to online ticket sales, online sales of CARNEGIE HALL-branded merchandise,

performances available via video-on-demand, streaming and downloadable podcasts, and

educational content, all available to consumers in New Jersey. Carnegie Hall also provides

restaurant services, food and beverages to New Jersey residents visiting Carnegie Hall’s

performance venue.

       221.    As discussed above, Carnegie Hospitality, Mr. Antonakopoulos, and Carnegie

Diner Secaucus have promoted, distributed, and used in commerce in New Jersey the Infringing

Marks without Carnegie Hall’s authorization.




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       222.    Carnegie Hospitality, Mr. Antonakopoulos, and Carnegie Diner Secaucus have

built their Carnegie Diner business by using the Infringing Marks, which constitute an unprivileged

imitation of the CARNEGIE HALL Marks.

       223.    Defendant Mr. Antonakopoulos actively and knowingly selected the Infringing

Marks, including the infringing merchandise, décor consisting of full-wall murals of the interior

and exterior of Carnegie Hall’s building and other visual indicia associated with Carnegie Hall for

the Carnegie Diners.

       224.    Defendant Mr. Antonakopoulos was, therefore, a moving, conscious force that

caused the infringement to occur.

       225.    Defendant Mr. Antonakopoulos, as owner, principal and/or operator of Carnegie

Hospitality and Carnegie Diner Secaucus, caused the infringement as a whole to occur.

       226.    Carnegie Hospitality and Carnegie Diner Secaucus own, manage, and/or operate

the Carnegie Diner in New Jersey, which employs the Infringing Marks. Carnegie Hospitality and

Carnegie Diner Secaucus, therefore, including by and through Mr. Antonakopoulos, caused the

infringement to occur.

       227.    Carnegie Hospitality purports to own the Infringing Marks, including U.S.

Registration No. 6,632,349 and U.S. Serial No. 99/040389.

       228.    Carnegie Hospitality, Mr. Antonakopoulos, and Carnegie Diner Secaucus’s

unauthorized appropriation of the CARNEGIE HALL Marks, imagery, brand, trade name, and

reputation in connection with the Carnegie Diners for use in connection with their goods and

services, is likely to cause confusion or mistake as to the source of Carnegie Hospitality, Mr.

Antonakopoulos, and Carnegie Diner Secaucus’s goods and services, because it falsely suggests




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that their goods and services are provided by, connected with, sponsored by, endorsed by, affiliated

with, or related to, Carnegie Hall.

       229.    Carnegie Hospitality, Mr. Antonakopoulos, and Carnegie Diner Secaucus knew, or

should have known, that their unauthorized use of the Infringing Marks was likely to cause

confusion or mistake as to Carnegie Hall’s sponsorship of, association with, or affiliation with

Carnegie Hospitality, Mr. Antonakopoulos, and Carnegie Diner Secaucus’s Carnegie Diners and

related goods and services.

       230.    Carnegie Hospitality, Mr. Antonakopoulos, and Carnegie Diner Secaucus’s

unauthorized use of the Infringing Marks was willful.

       231.    Carnegie Hospitality, Mr. Antonakopoulos, and Carnegie Diner Secaucus’s

unauthorized use of the Infringing Marks has caused Carnegie Hall substantial harm and damages,

including to the value of its CARNEGIE HALL Marks, its reputation and goodwill, and Carnegie

Hall is likely to suffer additional harm and damages. This confusion has also caused Carnegie

Hospitality, Mr. Antonakopoulos, and Carnegie Diner Secaucus to profit from their

misappropriation and unauthorized use of the CARNEGIE HALL Marks, imagery, brand, and

reputation.

       232.    Carnegie Hospitality, Mr. Antonakopoulos, and Carnegie Diner Secaucus’s

unauthorized use of the Infringing Marks, unless enjoined by this Court, will further impair the

value of Carnegie Hall’s CARNEGIE HALL Marks, reputation, and goodwill.                 This harm

constitutes an injury for which Carnegie Hall has no adequate remedy at law.

       233.    Carnegie Hospitality, Mr. Antonakopoulos, and Carnegie Diner Secaucus’s

unauthorized use of the Infringing Marks constitutes common law unfair competition under New

Jersey law.




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       234.    By reason of the foregoing, Carnegie Hall is entitled to permanent injunctive relief

and recovery of any damages proven to have been caused directly or indirectly by reason of their

aforesaid acts, as well as punitive damages, among other remedies as outlined below and any others

ordered by the Court.

      EIGHTH CLAIM FOR RELIEF - AGAINST CARNEGIE HOSPITALITY,
      EFSTATHIOS ANTONAKOPOULOS, AND CARNEGIE DINER VIENNA
     TRADEMARK INFRINGEMENT – VIRGINIA CODE §§ 59.1-92.12, 59.1-92.13

       235.    Carnegie Hall repeats and re-alleges each and every allegation set forth in

paragraphs 1 through 234 as if fully set forth herein.

       236.    Carnegie Hall has prior rights over Carnegie Hospitality, Mr. Antonakopoulos, and

Carnegie Diner Vienna in and to the CARNEGIE HALL Marks in the United States (including

Virginia) by virtue of the Carnegie Hall Entities’ continuous use of the CARNEGIE HALL Marks

in interstate commerce and as evidenced by the numerous federal registrations for the Registered

CARNEGIE HALL Marks owned by Carnegie Hall, including, but not limited to U.S. Reg. Nos.

1,599,952; 1,818,456; 2,358,244; 6,046,767; 7,263,101; 6,804,867; 3,753,335; and 2,707,933.

       237.    The Registered CARNEGIE HALL Marks are valid, subsisting, used in commerce,

inherently distinctive and have acquired distinctiveness. In addition, U.S. Reg. Nos. 1,599,952

and 2,358,244, inter alia, have achieved incontestability.

       238.    Carnegie Hall has prior rights over Carnegie Hospitality, Mr. Antonakopoulos, and

Carnegie Diner Vienna in and to the CARNEGIE HALL Marks in the Commonwealth of Virginia

by virtue of its use of the CARNEGIE HALL Marks in the Commonwealth of Virginia, including

but not limited to online ticket sales, online sales of CARNEGIE HALL-branded merchandise,

performances available via video-on-demand, streaming and downloadable podcasts, and

educational content all available to consumers in Virginia, and as evidenced by the numerous




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federal registrations for the Registered CARNEGIE HALL Marks owned by Carnegie Hall.

Carnegie Hall also provides restaurant services, food and beverages to Virginia residents visiting

Carnegie Hall’s performance venue.

       239.    Carnegie Hall has made significant expenditures, both financial and through the

skill and labor of its employees, to promote its brand as embodied in the CARNEGIE HALL Marks

and imagery associated with its goods and services and has developed significant goodwill therein.

       240.    As discussed above, Carnegie Hospitality, Mr. Antonakopoulos, and Carnegie

Diner Vienna have promoted, distributed, and used in commerce the Infringing Marks without

Carnegie Hall’s authorization within the Commonwealth of Virginia.

       241.    Carnegie Hospitality, Mr. Antonakopoulos, and Carnegie Diner Vienna use a

colorable imitation of the CARNEGIE HALL Marks for their Infringing Marks within the

Commonwealth of Virginia.

       242.    Defendant Mr. Antonakopoulos actively and knowingly selected the Infringing

Marks, including the infringing merchandise, décor consisting of full-wall murals of the interior

and exterior of Carnegie Hall’s building and other visual indicia associated with Carnegie Hall for

the Carnegie Diners.

       243.    Defendant Mr. Antonakopoulos was, therefore, a moving, conscious force that

caused the infringement to occur.

       244.    Defendant Mr. Antonakopoulos, as owner, principal and/or operator of Carnegie

Hospitality and Carnegie Diner Vienna, caused the infringement as a whole to occur.

       245.    Carnegie Hospitality and Carnegie Diner Vienna own, manage, and/or operate the

Vienna, Virginia Carnegie Diner location, which employs the Infringing Marks.            Carnegie




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Hospitality and Carnegie Diner Vienna, therefore, including by and through Mr. Antonakopoulos,

caused the infringement to occur.

       246.    Carnegie Hospitality purports to own the Infringing Marks, including U.S.

Registration No. 6,632,349 and U.S. Serial No. 99/040389.

       247.    Carnegie Hospitality, Mr. Antonakopoulos, and Carnegie Diner Vienna’s

unauthorized use of the Infringing Marks and reproductions, copies, and colorable imitations of

the CARNEGIE HALL Marks in connection with their goods and services is likely to cause

confusion or mistake as to the source or origin of their goods and services, because it falsely

suggests that Carnegie Hall is the source of the Carnegie Diners’ goods and services.

       248.    Carnegie Hospitality, Mr. Antonakopoulos, and Carnegie Diner Vienna had actual

and constructive notice of the CARNEGIE HALL Marks before they selected, adopted, and used

the Infringing Marks.

       249.    Carnegie Hospitality, Mr. Antonakopoulos, and Carnegie Diner Vienna knew, or

should have known, that their unauthorized use of the Infringing Marks in connection with the

Carnegie Diners would cause confusion or mistake as to the source of their goods and services.

       250.    Carnegie Hospitality, Mr. Antonakopoulos, and Carnegie Diner Vienna’s

unauthorized use of the Infringing Marks was willful.

       251.    Carnegie Hospitality, Mr. Antonakopoulos, and Carnegie Diner Vienna’s

unauthorized use of the Infringing Marks has caused Carnegie Hall substantial harm and damages,

including to the value of its CARNEGIE HALL Marks, its reputation and goodwill. Carnegie Hall

also is likely to suffer additional harm and damages. This confusion has also caused Carnegie

Hospitality, Mr. Antonakopoulos, and Carnegie Diner Vienna to profit from their misappropriation

and unauthorized use of the CARNEGIE HALL Marks, imagery, brand, and reputation.




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         252.   Carnegie Hospitality, Mr. Antonakopoulos, and Carnegie Diner Vienna’s

unauthorized use of the Infringing Marks, unless enjoined by this court, will further impair the

value of Carnegie Hall’s CARNEGIE HALL Marks, reputation, and goodwill.                 This harm

constitutes an injury for which Carnegie Hall has no adequate remedy at law.

         253.   Carnegie Hospitality, Mr. Antonakopoulos, and Carnegie Diner Vienna’s

unauthorized use of the Infringing Marks constitutes trademark infringement under Virginia Code

§ 59.1-92.12.

         254.   By reason of the foregoing, Carnegie Hall is entitled to permanent injunctive relief

against Carnegie Hospitality, Mr. Antonakopoulos, and Carnegie Diner Vienna, and for all

remedies available to it under Virginia Code § 59.1-92.13, including monetary damages, an

accounting and disgorgement of Carnegie Hospitality, Mr. Antonakopoulos, and Carnegie Diner

Vienna’s profits, destruction of all materials including the Infringing Marks, including but not

limited to merchandise, signage, and advertising and marketing materials, and Carnegie Hall’s

reasonable attorneys’ fees, among other remedies as outlined below and any others ordered by the

Court.

NINTH CLAIM FOR RELIEF - AGAINST CARNEGIE HOSPITALITY, EFSTATHIOS
          ANTONAKOPOULOS, AND CARNEGIE DINER VIENNA
      TRADEMARK INFRINGEMENT UNDER VIRGINIA COMMON LAW

         255.   Carnegie Hall repeats and re-alleges each and every allegation set forth in

paragraphs 1 through 254 as if fully set forth herein.

         256.   Carnegie Hall has prior rights over Carnegie Hospitality, Mr. Antonakopoulos, and

Carnegie Diner Vienna in and to the CARNEGIE HALL Marks in the United States (including

Virginia) by virtue of the Carnegie Hall Entities’ continuous use of the CARNEGIE HALL Marks

in interstate commerce and as evidenced by the numerous federal registrations for the Registered




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CARNEGIE HALL Marks owned by Carnegie Hall, including, but not limited to U.S. Reg. Nos.

1,599,952; 1,818,456; 2,358,244; 6,046,767; 7,263,101; 6,804,867; 3,753,335; and 2,707,933.

         257.   The CARNEGIE HALL Marks are valid, subsisting, used in commerce, inherently

distinctive and have acquired distinctiveness.       In addition, U.S. Reg. Nos. 1,599,952 and

2,358,244, inter alia, have achieved incontestability.

         258.   Carnegie Hall has prior rights over Carnegie Hospitality, Mr. Antonakopoulos, and

Carnegie Diner Vienna in and to the CARNEGIE HALL Marks in the Commonwealth of Virginia

by virtue of its use of the CARNEGIE HALL Marks in the Commonwealth of Virginia, and as

evidenced by the numerous federal registrations for the Registered CARNEGIE HALL Marks

owned by Carnegie Hall. Carnegie Hall’s use in Virginia includes but is not limited to online

ticket sales and online sales of CARNEGIE HALL-branded merchandise to consumers in Virginia,

as well as performances available via video-on-demand, streaming and downloadable podcasts,

and streaming educational content available to consumers in Virginia. Carnegie Hall also provides

restaurant services, food and beverages to Virginia residents visiting Carnegie Hall’s performance

venue.

         259.   Carnegie Hall has made significant expenditures, both financial and through the

skill and labor of its employees, to promote its brand as embodied in the CARNEGIE HALL Marks

and imagery associated with its goods and services and has developed significant goodwill therein.

         260.   As discussed above, Carnegie Hospitality, Mr. Antonakopoulos, and Carnegie

Diner Vienna have promoted, distributed, and used in commerce the Infringing Marks without

Carnegie Hall’s authorization within the Commonwealth of Virginia.

         261.   Defendant Mr. Antonakopoulos actively and knowingly selected the Infringing

Marks, including the infringing merchandise, décor consisting of full-wall murals of the interior




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and exterior of Carnegie Hall’s building and other visual indicia associated with Carnegie Hall for

the Carnegie Diners, and caused the reproductions, copies, or colorable imitations of them to be

used in connection with the Carnegie Diners.

         262.   Defendant Mr. Antonakopoulos was, therefore, a moving, conscious force that

caused the infringement to occur and reproductions, copies, or colorable imitations to be made and

used.

         263.   Defendant Mr. Antonakopoulos, as owner, principal and/or operator of Carnegie

Hospitality and Carnegie Diner Vienna, caused the infringement as a whole to occur.

         264.   Carnegie Hospitality and Carnegie Diner Vienna own, manage, and/or operate the

Vienna, Virginia Carnegie Diner, which employs the Infringing Marks. Carnegie Hospitality and

Carnegie Diner Vienna, therefore, including by and through Mr. Antonakopoulos, caused the

infringement to occur.

         265.   Carnegie Hospitality purports to own the Infringing Marks, including U.S.

Registration No. 6,632,349 and U.S. Serial No. 99/040389.

         266.   Carnegie Hospitality, Mr. Antonakopoulos, and Carnegie Diner Vienna’s use of the

Infringing Marks in connection with the Carnegie Diners is likely to make consumers mistakenly

believe there is a connection, sponsorship, or association between their Carnegie Diners and

Carnegie Hall, and/or that the Carnegie Diners are owned, operated, sponsored or endorsed by, or

affiliated with, Carnegie Hall when that is not the case.

         267.   Carnegie Hospitality, Mr. Antonakopoulos, and Carnegie Diner Vienna’s

unauthorized use of the Infringing Marks in connection with the Carnegie Diners is likely to cause

confusion or mistake as to the source of their goods and services, because it falsely suggests that




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the Carnegie Diners and their goods and services are provided by, connected with, sponsored or

endorsed by, affiliated with, or related to, Carnegie Hall.

       268.    Carnegie Hospitality, Mr. Antonakopoulos, and Carnegie Diner Vienna had actual

and constructive notice of the CARNEGIE HALL Marks before they selected, adopted, and used

the Infringing Marks.

       269.    Carnegie Hospitality, Mr. Antonakopoulos, and Carnegie Diner Vienna knew, or

should have known, that their unauthorized use of the Infringing Marks in connection with

Carnegie Diners would cause confusion or mistake as to the source of Defendants’ goods and

services.

       270.    Carnegie Hospitality, Mr. Antonakopoulos, and Carnegie Diner Vienna’s

unauthorized use of the Infringing Marks was willful.

       271.    Carnegie Hospitality, Mr. Antonakopoulos, and Carnegie Diner Vienna’s

unauthorized use of the Infringing Marks has caused Carnegie Hall substantial harm and damages,

including to the value of its CARNEGIE HALL Marks, its reputation and goodwill. Carnegie Hall

also is likely to suffer additional harm and damages. This confusion has also caused Carnegie

Hospitality, Mr. Antonakopoulos, and Carnegie Diner Vienna to profit from their misappropriation

and unauthorized use of the CARNEGIE HALL Marks, imagery, brand, and reputation.

       272.    Carnegie Hospitality, Mr. Antonakopoulos, and Carnegie Diner Vienna’s

unauthorized use of the Infringing Marks, unless enjoined by this court, will further impair the

value of Carnegie Hall’s CARNEGIE HALL Marks, reputation, and goodwill.              This harm

constitutes an injury for which Carnegie Hall has no adequate remedy at law.




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       273.     Carnegie Hospitality, Mr. Antonakopoulos, and Carnegie Diner Vienna’s

unauthorized use of the Infringing Marks constitutes common law trademark infringement under

Virginia law.

       274.     By reason of the foregoing, Carnegie Hall is entitled to permanent injunctive relief,

recovery of any damages proven to have been caused by reason of their aforesaid acts, and

Carnegie Hospitality, Mr. Antonakopoulos, and Carnegie Diner Vienna’s profits, among other

remedies as outlined below and any others ordered by the Court.

TENTH CLAIM FOR RELIEF - AGAINST CARNEGIE HOSPITALITY, EFSTATHIOS
          ANTONAKOPOULOS, AND CARNEGIE DINER VIENNA
        UNFAIR COMPETITION UNDER VIRGINIA COMMON LAW

       275.     Carnegie Hall repeats and re-alleges each and every allegation set forth in

paragraphs 1 through 274 as if fully set forth herein.

       276.     Carnegie Hall has prior rights over Carnegie Hospitality, Mr. Antonakopoulos, and

Carnegie Diner Vienna in and to the CARNEGIE HALL Marks in the United States (including

Virginia) by virtue of the Carnegie Hall Entities’ continuous use of the CARNEGIE HALL Marks

in interstate commerce and as evidenced by the numerous federal registrations for the Registered

CARNEGIE HALL Marks owned by Carnegie Hall, including, but not limited to U.S. Reg. Nos.

1,599,952; 1,818,456; 2,358,244; 6,046,767; 7,263,101; 6,804,867; 3,753,335; and 2,707,933.

       277.     The CARNEGIE HALL Marks are valid, subsisting, used in commerce, inherently

distinctive and have acquired distinctiveness.        In addition, U.S. Reg. Nos. 1,599,952 and

2,358,244, inter alia, have achieved incontestability.

       278.     Carnegie Hall has prior rights over Carnegie Hospitality, Mr. Antonakopoulos, and

Carnegie Diner Vienna in and to the CARNEGIE HALL Marks in the Commonwealth of Virginia

by virtue of its use of the CARNEGIE HALL Marks in the Commonwealth of Virginia, its use of




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Carnegie Hall as a name, brand, and trademark and as evidenced by the numerous federal

registrations for the Registered CARNEGIE HALL Marks owned by Carnegie Hall.

       279.    Carnegie Hall has made significant expenditures, both financial and through the

skill and labor of its employees, to promote its brand as embodied in the CARNEGIE HALL Marks

and imagery associated with its performance venue and to develop a strong reputation and

significant goodwill therein.

       280.    Carnegie Hall provides its goods and services to consumers in Virginia via online

sales and streaming and downloadable audio and video content. These goods and services include,

but are not limited to online ticket sales, online sales of CARNEGIE HALL-branded merchandise,

performances available via video-on-demand, streaming and downloadable podcasts, and

educational content, all available to consumers in Virginia. Carnegie Hall also provides restaurant

services, food and beverages to Virginia residents visiting Carnegie Hall’s performance venue.

       281.    As discussed above, Carnegie Hospitality, Mr. Antonakopoulos, and Carnegie

Diner Vienna have promoted, distributed, and used in commerce the Infringing Marks without

Carnegie Hall’s authorization.

       282.    Defendant Mr. Antonakopoulos actively and knowingly selected the Infringing

Marks, including the infringing merchandise, décor consisting of full-wall murals of the interior

and exterior of Carnegie Hall’s building and other visual indicia associated with Carnegie Hall for

the Carnegie Diners.

       283.    Defendant Mr. Antonakopoulos was, therefore, a moving, conscious force that

caused the infringement to occur.

       284.    Defendant Mr. Antonakopoulos, as owner and operator of Carnegie Hospitality and

Carnegie Diner Vienna, caused the infringement as a whole to occur.




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       285.      Carnegie Hospitality and Carnegie Diner Vienna own, manage, and/or operate the

Vienna, Virginia Carnegie Diner location, which employs the Infringing Marks.           Carnegie

Hospitality and Carnegie Diner Vienna, therefore, including by and through Mr. Antonakopoulos,

caused the infringement to occur.

       286.      Carnegie Hospitality purports to own the Infringing Marks, including U.S.

Registration No. 6,632,349 and U.S. Serial No. 99/040389.

       287.      Carnegie Hospitality, Mr. Antonakopoulos, and Carnegie Diner Vienna have built

their Carnegie Diner business by making unauthorized use of the Infringing Marks.

       288.      Carnegie Hospitality, Mr. Antonakopoulos, and Carnegie Diner Vienna’s

unauthorized appropriation of the CARNEGIE HALL Marks, imagery, brand, trade name, and

reputation in connection with the Carnegie Diners for use in connection with their goods and

services, is likely to cause confusion or mistake as to the source of Carnegie Hospitality, Mr.

Antonakopoulos, and Carnegie Diner Vienna’s goods and services, because it falsely suggests that

the Carnegie Diners are provided by, connected with, sponsored by, affiliated with, or related to,

Carnegie Hall.

       289.      Carnegie Hospitality, Mr. Antonakopoulos, and Carnegie Diner Vienna knew, or

should have known, that their unauthorized use of the Infringing Marks was likely to cause

confusion or mistake as to Carnegie Hall’s sponsorship or endorsement of, association with, or

affiliation with their Carnegie Diners and related goods and services.

       290.      Carnegie Hospitality, Mr. Antonakopoulos, and Carnegie Diner Vienna’s

unauthorized use of the Infringing Marks was willful.

       291.      Carnegie Hospitality, Mr. Antonakopoulos, and Carnegie Diner Vienna’s

unauthorized use of the Infringing Marks has caused Carnegie Hall substantial harm and damages,




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including to the value of its CARNEGIE HALL Marks, its reputation and goodwill, and Carnegie

Hall is likely to suffer additional harm and damages. This confusion has also caused Carnegie

Hospitality, Mr. Antonakopoulos, and Carnegie Diner Vienna to profit from their misappropriation

and unauthorized use of the CARNEGIE HALL Marks, imagery, brand, and reputation.

       292.     Carnegie Hospitality, Mr. Antonakopoulos, and Carnegie Diner Vienna’s

unauthorized use of the Infringing Marks, unless enjoined by this court, will further impair the

value of Carnegie Hall’s CARNEGIE HALL Marks, reputation, and goodwill.                  This harm

constitutes an injury for which Carnegie Hall has no adequate remedy at law.

       293.     Carnegie Hospitality, Mr. Antonakopoulos, and Carnegie Diner Vienna’s

unauthorized use of the Infringing Marks constitutes common law unfair competition under

Virginia law.

       294.     By reason of the foregoing, Carnegie Hall is entitled to permanent injunctive relief,

recovery of any damages proven to have been caused by reason of their aforesaid acts, and

Carnegie Hospitality, Mr. Antonakopoulos, and Carnegie Diner Vienna’s profits, among other

remedies as outlined below and any others ordered by the Court.

        ELEVENTH CLAIM FOR RELIEF – AGAINST ALL DEFENDANTS
    FEDERAL DILUTION OF THE CARNEGIE HALL MARKS – 15 U.S.C. § 1125(c)

       295.     Carnegie Hall repeats and re-alleges each and every allegation set forth in

paragraphs 1 through 294 as if fully set forth herein.

       296.     Carnegie Hall has prior rights over Defendants in and to the CARNEGIE HALL

Marks in the United States by virtue of the Carnegie Hall Entities’ longtime, continuous use of the

CARNEGIE HALL Marks in interstate commerce and as evidenced by the numerous federal

registrations for the Registered CARNEGIE HALL Marks owned by Carnegie Hall, including, but




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not limited to U.S. Reg. Nos. 1,599,952; 1,818,456; 2,358,244; 6,046,767; 7,263,101; 6,804,867;

3,753,335; and 2,707,933.

       297.    The CARNEGIE HALL Marks are valid, subsisting, used in commerce, inherently

distinctive, have acquired distinctiveness, and are famous. In addition, U.S. Reg. Nos. 1,599,952

and 2,358,244, inter alia, have achieved incontestability.

       298.    The CARNEGIE HALL Marks have been in extensive, continuous, and exclusive

use in connection with the Carnegie Hall Entities’ goods and services for as long as 130 years.

       299.    The CARNEGIE HALL Marks are widely recognized by the general consuming

public across the United States because Carnegie Hall’s goods and services are marketed

nationwide, including but not limited to Carnegie Hall’s video-on-demand, radio and podcast

services, merchandise, restaurant services, and educational services that are marketed to local

orchestras and schools.

       300.    The CARNEGIE HALL Marks frequently appear in a wide array of channels of

trade, including but not limited to national magazines and newspapers, both solicited and

unsolicited.

       301.    Carnegie Hall enjoys a high volume of sales of goods and services under the

CARNEGIE HALL Marks.

       302.    The CARNEGIE HALL Marks are widely recognized nationwide and have been

famous since before Defendants began using the Infringing Marks.

       303.    Carnegie Hall enjoys substantially exclusive use of the CARNEGIE HALL Marks.

       304.    As discussed above, Defendants have promoted, distributed, and used in interstate

commerce the Infringing Marks without Carnegie Hall’s authorization.




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       305.    Defendant Mr. Antonakopoulos actively and knowingly selected the Infringing

Marks, including the infringing merchandise, décor consisting of full-wall murals of the interior

and exterior of Carnegie Hall’s building and other visual indicia associated with Carnegie Hall for

the Carnegie Diners.

       306.    Defendant Mr. Antonakopoulos was, therefore, a moving, conscious force that

caused the dilution to occur.

       307.    Defendant Mr. Antonakopoulos, as owner, principal and/or operator of Carnegie

Hospitality and the Individual-Restaurant LLC Defendants, caused the dilution as a whole to occur.

       308.    Carnegie Hospitality and the Individual-Restaurant LLC Defendants own, manage,

and/or operate the Carnegie Diners, which employ the Infringing Marks. Carnegie Hospitality and

the Individual-Restaurant LLC Defendants, therefore, including by and through Mr.

Antonakopoulos, caused the dilution to occur.

       309.    Carnegie Hospitality purports to own the Infringing Marks, including U.S.

Registration No. 6,632,349 and U.S. Serial No. 99/040389.

       310.    The Infringing Marks are nearly—and in relevant parts, fully—identical to the

CARNEGIE HALL Marks.

       311.    Defendants intended to create an association with the CARNEGIE HALL Marks,

and as a result, consumers associate Defendants’ Carnegie Diner goods and services with Carnegie

Hall and the CARNEGIE HALL Marks.

       312.    Defendants’ dilution of the CARNEGIE HALL Marks was willful.

       313.    Due to their near-identical similarity, Defendants’ Infringing Marks are likely to

create an association with the CARNEGIE HALL Marks.




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       314.    As a result of Defendants’ actions, consumers do, in fact, associate the Infringing

Marks with the CARNEGIE HALL Marks.

       315.    Defendants’ actions are likely to reduce the ability of the CARNEGIE HALL

Marks to identify Carnegie Hall’s goods and services.

       316.    Defendants’ actions are likely to cause consumers to mistakenly associate negative

experiences regarding or perceptions of Defendants’ Carnegie Diners and their goods and services

to Carnegie Hall, thereby harming the reputation of Carnegie Hall and the famous CARNEGIE

HALL Marks.

       317.    Defendants’ actions described above, all occurring after the CARNEGIE HALL

Marks became famous, are likely to cause dilution of the famous CARNEGIE HALL Marks in

violation of Section 43(c) of the Lanham Act, 15 U.S.C. § 1125(c).

       318.    As a direct and proximate result of Defendants’ actions alleged above, Carnegie

Hall has been damaged and will continue to be damaged.

       319.    By reason of the foregoing, Carnegie Hall is entitled to permanent injunctive relief

against Defendants, and for all remedies available to it under 15 U.S.C. §§ 1117(a) and 1118,

including monetary damages, an accounting and disgorgement of Defendants’ profits, Carnegie

Hall’s reasonable attorneys’ fees and costs, prejudgment interest, and destruction of the diluting

merchandise, imagery, and other items, among other remedies as outlined below and any others

ordered by the Court.

      TWELFTH CLAIM FOR RELIEF - AGAINST CARNEGIE HOSPITALITY,
    EFSTATHIOS ANTONAKOPOULOS, CARNEGIE DINER 57, AND CARNEGIE
                              DINER 828
       NEW YORK STATE DILUTION OF THE CARNEGIE HALL MARKS –
                        N.Y. Gen. Bus. L. § 360(l)

       320.    Carnegie Hall repeats and re-alleges each and every allegation set forth in

paragraphs 1 through 319 as if fully set forth herein.


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         321.   Carnegie Hall has prior rights over Carnegie Hospitality, Mr. Antonakopoulos,

Carnegie Diner 57, and Carnegie Diner 828 in and to the CARNEGIE HALL Marks in the United

States (including New York) by virtue of the Carnegie Hall Entities’ continuous use of the

CARNEGIE HALL Marks in interstate commerce and as evidenced by the numerous federal

registrations for the Registered CARNEGIE HALL Marks owned by Carnegie Hall, including, but

not limited to U.S. Reg. Nos. 1,599,952; 1,818,456; 2,358,244; 6,046,767; 7,263,101; 6,804,867;

3,753,335; and 2,707,933.

         322.   The CARNEGIE HALL Marks are valid, subsisting, used in commerce, inherently

distinctive, have acquired distinctiveness, and are famous. In addition, U.S. Reg. Nos. 1,599,952

and 2,358,244, inter alia, have achieved incontestability.

         323.   The CARNEGIE HALL Marks have been in extensive, continuous use in

connection with the Carnegie Hall Entities’ goods and services in New York for as long as 130

years.

         324.   The CARNEGIE HALL Marks are widely recognized by the general consuming

public in New York, because of Carnegie Hall’s landmark status, frequent press coverage, and

because of the Carnegie Hall Entities’ use in commerce in New York for 130 years, among other

reasons.

         325.   The CARNEGIE HALL Marks frequently appear in a wide array of channels of

trade, including but not limited to national magazines and newspapers, both solicited and

unsolicited, as well as popular television programs and films.

         326.   Carnegie Hall enjoys a high volume of sales of goods and services under the

CARNEGIE HALL Marks.




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       327.    The CARNEGIE HALL Marks are widely recognized, well known, distinctive, and

famous in New York and nationwide.

       328.    Carnegie Hall enjoys substantially exclusive use of the CARNEGIE HALL Marks.

       329.    As discussed above, Carnegie Hospitality, Mr. Antonakopoulos, Carnegie Diner

57, and Carnegie Diner 828 have promoted, distributed, and used in commerce in the state of New

York, the Infringing Marks without Carnegie Hall’s authorization.

       330.    Defendant Mr. Antonakopoulos actively and knowingly selected the Infringing

Marks, including the infringing merchandise, décor consisting of full-wall murals of the interior

and exterior of Carnegie Hall’s building and other visual indicia associated with Carnegie Hall for

the Carnegie Diners.

       331.    Defendant Mr. Antonakopoulos was, therefore, a moving, conscious force that

caused the dilution to occur.

       332.    Defendant Mr. Antonakopoulos, as owner, principal and/or operator of Carnegie

Hospitality, Carnegie Diner 57, and Carnegie Diner 828, caused the dilution as a whole to occur.

       333.    Carnegie Hospitality, Carnegie Diner 57, and Carnegie Diner 828 own, manage,

and/or operate the Carnegie Diners in New York, which employ the Infringing Marks. Carnegie

Hospitality, Carnegie Diner 57, and Carnegie Diner 828, therefore, including by and through Mr.

Antonakopoulos, caused the dilution to occur.

       334.    Carnegie Hospitality purports to own the Infringing Marks, including U.S.

Registration No. 6,632,349 and U.S. Serial No. 99/040389.

       335.    Carnegie Hospitality, Mr. Antonakopoulos, Carnegie Diner 57, and Carnegie Diner

828’s unauthorized use of the Infringing Marks is substantially similar, if not identical to, the

CARNEGIE HALL Marks.




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       336.    Carnegie Hospitality, Mr. Antonakopoulos, Carnegie Diner 57, and Carnegie Diner

828 intended to create an association with the CARNEGIE HALL Marks, and as a result,

consumers associate their Carnegie Diners with the CARNEGIE HALL Marks.

       337.    Carnegie Hospitality, Mr. Antonakopoulos, Carnegie Diner 57, and Carnegie Diner

828’s dilution of the CARNEGIE HALL Marks was willful.

       338.    Carnegie Hospitality, Mr. Antonakopoulos, Carnegie Diner 57, and Carnegie Diner

828’s actions are likely to reduce the ability of the CARNEGIE HALL Marks to identify Carnegie

Hall’s goods and services.

       339.    Carnegie Hospitality, Mr. Antonakopoulos, Carnegie Diner 57, and Carnegie Diner

828’s actions are likely to cause consumers to mistakenly associate negative experiences regarding

or perceptions of Defendants’ Carnegie Diners with Carnegie Hall, thereby harming the reputation

of the famous CARNEGIE HALL Marks.

       340.    Carnegie Hospitality, Mr. Antonakopoulos, Carnegie Diner 57, and Carnegie Diner

828’s actions described above, all occurring after the CARNEGIE HALL Marks became

distinctive and famous, are likely to cause dilution of the distinctive and famous CARNEGIE

HALL Marks in violation of New York General Business Law § 360(l).

       341.    As a direct and proximate result of Carnegie Hospitality, Mr. Antonakopoulos,

Carnegie Diner 57, and Carnegie Diner 828’s actions alleged above, Carnegie Hall has been

damaged and will continue to be damaged.

       342.    By reason of the foregoing, Carnegie Hall is entitled to permanent injunctive relief

against Carnegie Hospitality, Mr. Antonakopoulos, Carnegie Diner 57, and Carnegie Diner 828,

restraining them and all those in active concert and participation with them from any further acts




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of dilution, and attorneys’ fees, among other remedies as outlined below and any others ordered

by the Court.

    THIRTEENTH CLAIM FOR RELIEF - AGAINST CARNEGIE HOSPITALITY,
     EFSTATHIOS ANTONAKOPOULOS, AND CARNEGIE DINER SECAUCUS
      NEW JERSEY STATE DILUTION OF THE CARNEGIE HALL MARKS –
                         N.J. Stat. § 56:3-13.20

       343.     Carnegie Hall repeats and re-alleges each and every allegation set forth in

paragraphs 1 through 342 as if fully set forth herein.

       344.     Carnegie Hall has prior rights over Carnegie Hospitality, Mr. Antonakopoulos, and

Carnegie Diner Secaucus in and to the CARNEGIE HALL Marks in the United States (including

New Jersey) by virtue of the Carnegie Hall Entities’ continuous use of the CARNEGIE HALL

Marks in interstate commerce and as evidenced by the numerous federal registrations for the

Registered CARNEGIE HALL Marks owned by Carnegie Hall, including, but not limited to U.S.

Reg. Nos. 1,599,952; 1,818,456; 2,358,244; 6,046,767; 7,263,101; 6,804,867; 3,753,335; and

2,707,933.

       345.     The CARNEGIE HALL Marks are valid, subsisting, used in commerce, inherently

distinctive and have acquired distinctiveness.        In addition, U.S. Reg. Nos. 1,599,952 and

2,358,244, inter alia, have achieved incontestability.

       346.     The CARNEGIE HALL Marks have been in extensive, continuous use in

connection with the Carnegie Hall Entities’ goods and services for as long as 130 years.

       347.     The CARNEGIE HALL Marks frequently appear in a wide array of channels of

trade, including but not limited to national magazines and newspapers, both solicited and

unsolicited, as well as popular television programs and films.

       348.     Carnegie Hall enjoys a high volume of sale of goods and services under the

CARNEGIE HALL Marks.



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       349.    The CARNEGIE HALL Marks are widely recognized by the general consuming

public in New Jersey and across the United States because Carnegie Hall’s goods and services are

marketed nationwide, including but not limited to Carnegie Hall’s online ticket sales, video-on-

demand, radio and podcast services, online merchandise, restaurant services, and educational

services that are marketed to local orchestras and schools.

       350.    Carnegie Hall enjoys substantially exclusive use of the CARNEGIE HALL Marks.

       351.    As discussed above, Carnegie Hospitality, Mr. Antonakopoulos, and Carnegie

Diner Secaucus have promoted, distributed, and used in commerce in the state of New Jersey (and

elsewhere), the Infringing Marks without Carnegie Hall’s authorization.

       352.    Defendant Mr. Antonakopoulos actively and knowingly selected the Infringing

Marks, including the infringing merchandise, décor consisting of full-wall murals of the interior

and exterior of Carnegie Hall’s building and other visual indicia associated with Carnegie Hall for

the Carnegie Diners.

       353.    Defendant Mr. Antonakopoulos was, therefore, a moving, conscious force that

caused the dilution to occur.

       354.    Defendant Mr. Antonakopoulos, as owner, principal and/or operator of Carnegie

Hospitality and Carnegie Diner Secaucus, caused the dilution as a whole to occur.

       355.    Carnegie Hospitality and Carnegie Diner Secaucus own, manage, and/or operate

the Secaucus, New Jersey Carnegie Diner, which employs the Infringing Marks. Carnegie

Hospitality and Carnegie Diner Secaucus, therefore, including by and through Mr.

Antonakopoulos, caused the dilution to occur.

       356.    Carnegie Hospitality purports to own the Infringing Marks, including U.S.

Registration No. 6,632,349 and U.S. Serial No. 99/040389.




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       357.     Carnegie Hospitality, Mr. Antonakopoulos, and Carnegie Diner Secaucus’s

unauthorized use of the Infringing Marks is substantially similar, if not identical to, the

CARNEGIE HALL Marks.

       358.     Carnegie Hospitality, Mr. Antonakopoulos, and Carnegie Diner Secaucus intended

to create an association with the CARNEGIE HALL Marks, and as a result, consumers associate

their Carnegie Diners with the CARNEGIE HALL Marks.

       359.     Carnegie Hospitality, Mr. Antonakopoulos, and Carnegie Diner Secaucus’s

dilution of the CARNEGIE HALL Marks was willful.

       360.     Carnegie Hospitality, Mr. Antonakopoulos, and Carnegie Diner Secaucus’s actions

are likely to reduce the ability of the CARNEGIE HALL Marks to identify Carnegie Hall’s goods

and services.

       361.     Carnegie Hospitality, Mr. Antonakopoulos, and Carnegie Diner Secaucus’s actions

are likely to cause consumers to mistakenly associate negative experiences regarding or

perceptions of Defendants’ Carnegie Diners with Carnegie Hall, thereby harming the reputation

of the famous CARNEGIE HALL Marks.

       362.     Carnegie Hospitality, Mr. Antonakopoulos, and Carnegie Diner Secaucus’s actions

described above, all occurring after the CARNEGIE HALL Marks became distinctive and famous,

are likely to cause dilution of the distinctive and famous CARNEGIE HALL Marks in violation

of New Jersey Statute § 56:3-13.20.

       363.     As a direct and proximate result of Carnegie Hospitality, Mr. Antonakopoulos, and

Carnegie Diner Secaucus’s actions alleged above, Carnegie Hall has been damaged and will

continue to be damaged.




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       364.    By reason of the foregoing, Carnegie Hall is entitled to permanent injunctive relief

against Carnegie Hospitality, Mr. Antonakopoulos, and Carnegie Diner Secaucus, restraining them

and all those in active concert and participation with them from any further acts of dilution, as well

as monetary damages, an accounting and disgorgement of Carnegie Hospitality, Mr.

Antonakopoulos, and Carnegie Diner Secaucus’s profits, destruction of all materials including the

Infringing Marks, including but not limited to merchandise, signage, and advertising and

marketing materials, Carnegie Hall’s reasonable attorneys’ fees and costs, and prejudgment

interest, as authorized by N.J. Stat. §§ 56:3-13.16(f) and 56:3-13.20, among other remedies as

outlined below and any others ordered by the Court.

   FOURTEENTH CLAIM FOR RELIEF – AGAINST CARNEGIE HOSPITALITY
 CANCELLATION OF FEDERAL TRADEMARK REGISTRATION (15 U.S.C. § 1119)

       365.    Carnegie Hall repeats and re-alleges each and every allegation set forth in

paragraphs 1 through 364 as if fully set forth herein.

       366.    Carnegie Hospitality is the owner of U.S. Registration No. 6,632,349 for

CARNEGIE DINER & CAFÉ in Class 43 for “Restaurant and café services; Restaurant services;

Restaurant services, including sit-down service of food and take-out restaurant services;

Restaurant services, namely, providing of food and beverages for consumption on and off the

premises.”

       367.    As discussed above, the Infringing Marks, which include Registration No.

6,632,349, are confusingly similar to the CARNEGIE HALL Marks, and are likely to cause

consumer confusion.

       368.    Carnegie Hall and its CARNEGIE HALL Marks have priority over Carnegie

Hospitality, including based on the Carnegie Hall Entities’ decades of offering food and beverage

services in connection with the CARNEGIE HALL Marks.



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       369.    Accordingly, pursuant to 15 U.S.C. § 1119, this Court should order that U.S.

Registration No. 6,632,349 be cancelled.

                                     PRAYER FOR RELIEF

       WHEREFORE, Carnegie Hall demands a trial by jury, and respectfully prays that the

Court enter judgment in its favor on each and every claim for relief set forth above and award it

relief including, but not limited to, the following:

       1.       An Order declaring that Defendants’ use of the Infringing Marks is infringing, is

                likely to dilute the CARNEGIE HALL Marks, and constitutes unfair competition

                under federal and/or state law, as detailed above;

       2.       An injunction permanently enjoining Defendants and all those in active concert or

                participation with them (including, but not limited to their franchisees and

                licensees, and all of their respective officers, directors, agents, principals, servants,

                wholesalers, distributors, retailers, employees, representatives, attorneys,

                subsidiaries, parents, related companies, affiliates, successors, assigns, and

                contracting parties) from:

               (i)     using anywhere in the United States, applying to register in the United

                       States, or maintaining a registration in the United States for the Infringing

                       Marks, or any other trademark or trade dress that is confusingly similar to

                       the CARNEGIE HALL Marks, including, but not limited to, on its

                       restaurants, marketing materials, websites, and/or social media platforms;

                       and

               (ii)    representing, by any means whatsoever, that any products or services

                       manufactured, distributed, advertised, offered, or sold by Defendants are

                       Carnegie Hall’s products or services or vice versa, and from otherwise


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                        acting in a way likely to cause confusion, mistake, or deception on the part

                        of purchasers or consumers as to the origin, sponsorship, affiliation, or

                        association of such goods or services.

        3.       An Order Directing that Defendants and all those in active concert or participation

with it (including but not limited to, their respective officers, directors, agents, principals, servants,

wholesalers, distributors, retailers, their franchisees and licensees, and all of their employees,

representatives, attorneys, subsidiaries, parents, related companies, affiliates, successors, assigns,

and contracting parties) take affirmative steps in the United States to dispel such false impression

that heretofore has been created by their use of the Infringing Marks, including but not limited to,

recalling from any and all channels of trade any and all materials promoting or advertising the

infringing goods and services, and undertaking corrective advertising.

        4.       An Order directing that Defendants account to Carnegie Hall for their profits and

any damages sustained by Carnegie Hall, to the extent calculable, arising from the foregoing acts

of trademark infringement, false designation of origin, dilution, and unfair competition in the

United States.

        5.       An Order requiring that, in accordance with such accounting, Defendants pay to

Carnegie Hall any such profits and damages, to the extent they are nonduplicative, and a trebling

of such award, pursuant to 15 U.S.C. § 1117; N.J. Stat. §§ 56:3-13.16(f), 56:3-13.20; Virginia

Code §§ 59.1-92.13, 59.1-204; and any other applicable laws.

        6.       An Order requiring that Defendants pay Carnegie Hall punitive damages pursuant

to New York unfair competition law, New Jersey trademark law, and New Jersey unfair

competition law, in view of Defendants’ intentional and willful trademark infringement and other

conduct, in an amount to be determined at trial.




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       7.      An Order requiring that Defendants compensate Carnegie Hall for Carnegie Hall’s

costs, including its reasonable attorneys’ fees and disbursements in this action, pursuant to 15

U.S.C. § 1117, New York unfair competition law, and N.J. Stat. §§ 56:3-13.16(f), 56:3-13.20,

Virginia Code §§ 59.1-92-13, 51.1-204, and any other applicable laws.

       8.      An Order requiring that Defendants file with the Court and serve on counsel for

Carnegie Hall within thirty (30) days after entry of any injunction issued by the Court in this action,

a sworn written statement pursuant to 15 U.S.C. § 1116(a) and N.J. Stat. §§ 56:3-13.16(f), 56:3-

13.20, Virginia Code §§ 59.1-92-13 and 51.1-204 setting forth in detail the manner and form in

which Defendants have complied with any injunction which the Court may enter in this action.

       9.      An Order for the destruction of all materials including the Infringing Marks,

including but not limited to merchandise, signage, and advertising and marketing materials.

       10.     An Order directing the USPTO to cancel U.S. Registration No. 6,632,349.

       11.     Other relief as the Court may deem just and proper.



 Dated: May 20, 2025                           /s/ Shanti Sadtler Conway
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